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                                                           IN THE CIRCUIT COURT OF THE
                                                           ELEVENTH JUDICIAL CIRCUIT IN AND
                                                           FOR MIAMI-DADE COUNTY, FLORIDA

                                                           GENERAL JURISDICTION DIVISION

                                                           CASE NO. 20I8-030390-CA-IO

        MSP RECOVERY CLAIMS, SERIES LLC,
        a Delaware series limited liability company,
        MSPA CLAIMS I, LLC, a Florida limited
        liability company, and SERIES PMPI, a
        designated       series    of     MAO-MSO
        RECOVERY II LLC, a Delaware series
        limited liability company,

               Plaintiffs,

        v.

        ALERE, INC. a Delaware profit corporation,
        ALERE SAN DIEGO, INC. a Delaware
        profit corporation, . and ALERE HOME
        MONITORING, INC. a Delaware profit
        corporation,

               Defendants.
        -------------------I
                      AMENDED COMPLAINT FOR PURE BILL OF DISCOVERY

               Plaintiffs, MSP Recovery Claims, Series LLC ("MSPRC"), MSPA Claims I, LLC

        ("MSPA"), and Series PMPI, a designated series of MAO-MSO Recovery II LLC ("MAO-MSO")

        file this Amended Complaint for a Pure Bill of Discovery to obtain information from Defendants,

        Alere, Inc., Alere San Diego, Inc., and Alere Home Monitoring, Inc. (collectively, "Alere" or

        "Defendants"), regarding their home blood coagulation tests ("Home Testing System"), and state

        as follows:
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                                                     .•··
                                               JURISDICTION, PARTIES & VENUE

                   1. the basis for this Court's jurisdiction lies i!" equity pursuant to section, 26.012(2)(c) 1,

          Florida Statutes.

                   2. Plaintiffs are companies that have obtained assignments from Medicare Payers (the

          assigning Medicare Payers are referred to collevtively as the "Assignors") to _recover

          reimbursement or payment from Defendants. ~laintiffs' Assignors provide health insurance

          coverage
               t
                   pursuant to Medicare Part C, to individuals subscribed to their plans ("Enrollees"). The

          Assignors made payments on behalf of its Enrollees for medical expenses. Specifically, the

          Assignors made payments on behalf of, or otherwise became financially responsible for, their

          Enrollees' medical expenses which may have been incurred as a _result of Defendants' defective

          Home Testing System product.

                   3. Plaintif( MSPRC, is a Delaware series limited liability company with its principal
                                                                                         '
          place ofbusiness located at 5000 S.W. 75th Avenue, Suite 400, Miami, Florida 33155. MSPRC's

          limited liability company agreement provides for the estab1ishment of one or more designated

          Series. All records of all Series are maintained together with all assets of MSPRC.

                   4. MSPRC has established various d~signated series pursuant to Delaware law in order to

          maintain various claims recovery assignments separate from other Company assets, and in order

          to account for and associate certain assets with certain, particular series. All designated series form

          a part of MSPRC and pursuant to MSPRC's limited liability agreement and applicable

          amendment(s), each designated series will be own~ and controlled by MSPRC. MSPRC may

          receive assignments in the name of MSPRC and further associate such assignments with a



          1 Circuit courts   have exclusive jurisdiction pursuant to section·26.01_2(2)(c), Florida Statutes ''in all cases in equity."
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     particular series, or may have claims
                                      .
                                           assigned directly to a. particular series. In either event,

     MSPRC will JJ?.aµltain the right to sue on behalf of each series and pursue any and all pghts,

     benefits, and causes of action arising from assignments to a seri"es. Any claim or suit may be

     brought by MSPRC in its own name or it may elect to bring suit in the name of its designated

     series.

               5. MSPRC's limited liability agreement provides that any rights and benefits arising from

     assignments to its series shall belong to MSPRC.

               6. Plaintiff MSPA, is a limited liability company that is duly organized, validly existiµg,

     and in good standing under the laws of Florida, with its principal place of business in Miami-Dade

     County, Florida.

               7. Plaintiff MAO-MSO, is a Delaware entity, with its principal place of business located
                                                                       -··
     at 45 Legion Drive, Cresskill, New Jers~y 07626. MAO-MSO is a citizen ofthe State ofDelaware.
      .                                          .
               8. The Assignors have transferred all rights, title, and interest, which allow them to bring

     these Pure Bill of Discovery.

                                            Assignment Allegations


               9.     On May 3, 2016, Preferred Medical Pl~n, Inc.,, Florida corporation entered into

     an assignment agreement with MSP Recovery, LLC, a Florida limited liability company, whereby

     it irrevocably assigned its right to recover conditional payments pursuant to state and federal law.

     The assignment agreement.was executed by individuals of majority, ofsound mind, and with legal

     authority to bind the respective parties and was entered into under Florida law. Pursuant to the

     terms of the assignment agreement, the parties agreed to maintain the terms of the assignment

     agreement confidential. On August 8, 2016, MSP Recovery, LLC entered into an assignment

     agreement with Series PMPI, a designated series of MAO-MSO Recovery II, LLC, a Delaware

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     series limited liability company, whereby it irrevocably assigned its right to recover conditional
                                        '
     payments pursuant to state and federal as previously assigned from Pr~ferred Medical Plan, Inc.

     Specifically, Section 1.1 of the agreement states that:

            [a]ssignor hereby irrevocably assigns, sells, transfers, conveys, sets over and
            delivers to Assignee and its successors and assigns, all of Assignor's right, title,
            ownership a.Qd interest in and to all Assigned Claims, plus all pro,ceeds, products
            and distributions of any kind, and proceeds ofproceeds, in respect thereof, whether
            based in contract, tort, statutory right, and any and all rights (including, but not
            limited to, subrogation) to pursue and/or recover monies that Assignor had, may
            have had, or has asserted against any party in connection with the AssigQ.ed Claims,
            and all rights and claims against primary payers and/or third parties that may be
            liable to Assignor arising from or relating to the Assigned Claims, including claims
            under consumer protection statutes and laws, and all information relating thereto,
            all of which shall constitute the "Assigned Claims".

     (emphasis added).

            This second assignment agreement was executed by individuals of majority, of sound

     mind, and with legal authority to bind the respective parties wider New York law. Consideration

     was given between each party in executing these assignment agreements.

            10.     On April 15, 2014, Florida Health Care Plus, Inc., a Florida corporation entered

     into an assignment agreement with La Ley Recovery Systems, Inc., a Fl~rida corporation,

     whereby it irrevocably assigned its right to recover conditional payments pursuant to state and

     federal law. The assignment agreement was executed by individuals of majority, of sound mind,

     and with legal authority to bind the respective parties and was ente~ into under Florida law.

     Specifically, Section 1.1 of the agreement states that:

            [b]y ";Nay of this agreement, [FHCP] appoints, directs, and otherwise assigns all of
            [FHCP's] rights as it pertains to the rights pursuant to any plan, State or Federal
            statute whatsoever directly and/or indirectly for any its members and/or plan
            participants.

            On February 20, 2015, La Ley Recovery Systems, Inc. entered into an assignment

     agreement with MSPA Claims l, LLC, a Florida limited liability company, whereby it irrevocably

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     assigned its right to recover con~tional payments p~uant to state and federal law as assigned

     from Florida Health Care Plus, Inc. This second assignment contract was executed by individuals

     of majority, of sound mind, and with legal authority to bind the respective parties under Florida

     law. That assignment agreement states as follows:

            [La Ley Recovery] hereby irrevocably assigns, transfers, conveys, sets over, and
            delivers to [MSPA Claims 1, LLC] or its assigns any and all of [La Ley Recovery]• s
            rights, title, ownership and interest in and to all rights and entitlements, that (La
            Ley Recovery] has, may have had, or has asserted against third parties arising from
            or relating to the Claims.

            Consideration was given between each party in executing these assignments agreements.

            On June 1, 2016, a Settlement Agreement was entered into by La Ley Recovery Systems,

     Inc., MSP Recovery, LLC, MSPA Claims 1, LLC, and the Florida Department of Financial
                             .,
     Services as the Receiver of Florida Healthcare Plus, Inc. on behalf of Florida Healthcare Plus, Inc.

     The Settlement Agreement confinned the ownership ofall of Fiorida Healthcare Plus, Inc.' s claims

     relating to conditional payments pursuant to state and fed~ral law to MSPA Claims 1, LLC,

     ultimately. This Settlement Agreement was approved by the ~n County Court of Florida on June

     14, 2016.

            11.     On September 21, 2015, 7th Avenue Medical Plaza, Inc. entered into an

     assignment agreement with MSP Recovery 15-473, LLC, whereby it irrevocably assigned its right

     to recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the terms ofthe assignment agreemen4

     the parties agreed to maintain the terms of the assignment agreement confidential.




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      u       JrmogbJe gel Ahlolate Allipunent of a,t...,.;.
               Client hereby irrevocably assigns, transfers, conveys. scts over ad delivers to MSP
      Recovezy, or its usigns, in perpetuity, any and all of Client's right, title. ownarsbip and interest in
      and to all rights and entitlements, and all infimnatioo and data used to pursue and/or .recov« monies
     for Client 1hat Client has, may have had, or bas asserted against any party (1he "Assigned Claims',.
     This inrJudes, but is not limited to, pdmaay payors and/or 1hinl parties 1hat may be liabJe to Client
     arising from or relating to the hsigncd Claims.
             On June ~2, 2017, MSP Recovery 15-473, LLC entered into an assignment agreement with

     Series 15-09-32, a designated series of MSP Recovery Claims, Series LLC, a Delaware series

     limited ·liability company, whereby it irrevocably assigned its right to recover .conditional

     payments pursuant to state and federal law as assigned from 7th Avenue Medical Plaza, Inc. This

     second assignment agreement was executed by individuals of majority, of sound mind, and with

     legal authority to bind the respective parties and was entered into under Delaware law:
      KNOW ALL MEN BY 1HESE PRESENTS, that each undersigned Assipo1·, for and in consideration
      of the swn of Ten Dollars ($10.00) and other good and valuable cpnsidcration, the receipt of which is
      hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
      and its succ~sson and assigns1 any and all of Assignor's right, title, ownership and interest in and to the
      "Assigned Claims", "Claims'\ Assigned Assets" and "A ssigned Documents" (and all proceeds and
      products thereof) as such tenns are defined in the Health Care Claim(s) Cost R.uo,•••,· Agreem•nt
      dated September 21, 2015, by and among 7th Avenue l\leclical Plaza, also known as 7th A,•enue
      l\l•clical Pia~ Inc., a Florida c0Iporati011 (the "Client''), and MSP R.eco,•ery 15~73, LLC, a
      Delaware limited liability company (the "Agrttment"); inespcctive of when the claims were vested in
      Client, inclusive of any and all claim(s), causes of actions, proceeds: products and distributions of any
      kind, and J>l'OCeeds of proceeds, in respect thereof, whether based in contract, tort, statutory ript, and
      any and all rights (including, but not limitea to, subrogation) to pW'Sue and/or recover monies that
      Assignor had, may have bad, or has asserted against any party pursuant to the Agreement, including
      claims under consumer protection statutes and law~. any and all rights and claims against. primary payers
      and/or third parties that may be liable to Client arising from or relating to the Claims and all ~onuation
      relating thereto. The transfer, pot, ri@bt, or assignment of any and all of Client's right, title, o\\rnership,
      interest and entitlements in and to the Agreement shall remain the confidential and exclusive property of
      Assignee or its assigns. The intent of the parties is to transfer any and all rights title and interest that
      MSP Recovery LLC obtained as an assignee from the assignor.                                             ·

     Consideration was given between eacp. party in executing these assignment agreements.

             12.      On February 18, 2016, Broward Primary Partners, LLC entered into an

     assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to

     recover conditional payments pursuant to state and feder~ law. The assignment agreement was

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                                •,                                      .
     executed by individuals of majority, of sound mind, and with legal authority to bind the respective
                                         ,,

     parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

     the parties agreed to maintain the terms of the assignment agreement confidential.

      1.1     lrnyocable and Absolute Assignment of Claims,

              Client hereby assigns. transfers, conveys. sets over and deH'vers to MSP Claims, or its
      assigns, to the extent it is legally permitted any and all ofClient'night title, ownership and interest
      in and to all rights and entitlements. that Client has, may have had, or has asserted against any
      party including primary payors and/or third parties that may be liabJe to Client' arising from or
      relating to the Assigned Claims.

            On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement ·with Series

     16-02-437, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Broward Primary Partners, LLC. This second assignment agreement was executed by
                                                                             ..
     individuals of majority, of ~und mind, and with legal authority to bind the respective parties and

     was entered into under Florida law:

     KNOW ALL MEN BY THESE PRESENTS,. that each undersigned A.s~ignor, for ~din cons.ideration of
     the sqm of Ten Dollars ($·1().00) and other good and vaiuable oonsideration, the·,receipt of which is hereby
     aclmowledg~ ittevocably assigns, sells, transfers; ~veys, sets over· ~d c!clivers to Assignee and its
     successors and assigns, any and all ofAssignor's rigtlt, .title, ownership and interesfin an4 to the "Assigned
     CJaims", "Claims'\ Assigned Assets" ~d "Assigned Documents;. (and aJI p~eds and products 'thereof)
     as such terms are defmed ·in the Clai~(•) Cost Recovery Agr~ent $Dd AsligJi~eat·of Claims and
     (;auses of A~on_dated February 18, 2016, by and aibong Broward Primary Par1nen, LLC, a Florida
     limited liability company (the 14Client"), and MSP Recovery, LLC, a Florida limited liability company
     (the "Agreement'-');· irrespective of when the clai:m5 were vested in. Clie.nt, inc)usiv~. of aJlY and a1i
     cl~(s), causes.of a~ons, ~ceoos., prodµcts and distpbutions ofany kind, and proceeds of proceeds; in
     respect thereof, whether based in contract, ·tort, statu~ory right, ~d any ~d all fights (including,.but not
     limited to, .subrogation) to pursue and/or recover monies that Assignor .had, may have had, or has ·asserled
     ~ainst any. party p ~ t to the Agreement, incl.g claims under consumer protection statutes ~d
     laws, any·and al] rights and claims against primary payers and/or third parties that J118Y ~ liable to Client
     ati~ .~ m or rel~~g fo the Claims and all itµonnation relaµng ~eteto. The transfer, grant, rigl)t; or
     assignment of any and al] of Client's rfght, title, qwnership, interest a,nd cntjtlemen~ in and to the
     Agreement shall teinain the confidential and exclusive properly of Assignee or its assigns. Th~ Jil!Cnt of
     the p~es j~ to transfer any and all rights titl~ and interest that MSP Recovery LLC obtained as an assignee
     from the.assignor.

             Consideration was giyen between each party in executing these assignment agreements.


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            13.      On January 19, 2017, CE Ceballos MD LLC, doing business as Ortho Miami,

     Cl\tered into aii ~signment agreement with MSP Recovery, LLC, whereby it irrevocably assigned

     its right to recover conditional payments pursuant to state an4 federal law. The assignment
                                                      .                   .
     agreement was executed by individuals of majority, of sound mind, and with legal authority to_

     bind the respective parties and was entered into under Florida law. Pursuant to the terms of the

     assignment agreement, the parties agreed to maintain the terms of the assignm~t agreement

     confidential.

             4.1 Assignment of Claims
             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, and any of its successors and assigns, any and all of Client's right, title,
             ownership and interest in and to all Claims existing on the date hereof, whether
             based in contract, tort, statutory right, and any and all rights (including, but not
           · limited to, subrogation) to pursue and/or recover monies for Client that Client had,
             may have had, or has asserted agalllSt any party in connection with the Claims and
             all rights and claims against primary payers and/or third parties that may be liable
             to Client arising from or relating to the Claims, including claims under consumer
             protection statutes and laws, and all information relating thereto, all of which shall
             constitute the 'iAssigned Claims". The transfer, grant, right, or assignment of any
             and all of Client's right, title, ownership, interest and· entitlements in and to the
             Assigned Claims shall remain the confidential and exclusive property of MSP
             Recovery or its assigns. This assignment is irrevocable and absolute.

            On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

     17-03-584, a designated series of MSP Recovery Claims, ·series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from CE Ceballos MD LLC, dba Ortho Miami. This second assignment agreement was executed

     by individuals of majority, of sound mind, and with legal author:ity to bind the respective parties

     and was entered into under Delaware law:




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     KNOW ALL MEN BY lBESE PRESENTS. that each undersigned Assignor. for and in consideration
     of the sum of Ten Dollars ($10.00).and other·good and valuable consideration, the receipt of which is
     hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
     and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
     "Assigned Claims", "Claims", Assigned Assets" and ··Assigned Documents" (and all proceeds and
     products thereof) as such terms are defined in the Recovery Agreement dated January 19, 2017, by
     and among C E Ceballos MD, LLC, a Florida limited liability company (the "Client"), and MSP
     Recovery, LLC, a Florida limited liability company (the "Agreement''); irrespective of when the claims
     were vested in Client, inclusive of any and all claim(s), causes of actions, proceeds, products and
     distributions of any kind, and proceeds of proceeds, in respect thereof, whether based in contract. tort,
     statutory right, and any and all rights (including, \>ut not limited to, subrogation) to pursue and/or
     recover monies that Assignor had. may have had. or has asserted against any party pursuant to the
     Agreement, including claims under consumer protection statutes and laws, any and all rights and claims
     against primary payers and/or third parties that may be liable to Client arising .from or relating to the
     Claims and all information relating thereto. The transfer, grant, right, or assignment of any and all of
     Client's right, title, ownership, interest and entitlements in and to the Agreement shall remain the
     confidential and exclusive property of Assignee or its assigns. The intent of the parties is to transfer any
     and all rights title and interest that MSP Recovery LLC obtained as an assignee from the assignor.

             Consideration was given between each party in executing these assignment agreements.

             14.     On November 23, 2015, Century HealthCare, Inc. entered into an assignment

     agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

     conditional payments pursuant to state and federal law. The assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

     and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to maintain the tenns of the assignment agreement confidential.

             Cl ient hereby assigns, transfers, conveys, sets over and delivers to M.SP Recovery, or its
     assigns, any and all of Client's right, tit1e, ownership and interest in and tQ all rights and
     entitlements, arid ~II infortnation use<I to pursue and/or recover monies for Client that Client· has,
     may huve had, or hus asserted again~t any party ("Assigned Claims'').       This inc.ludes, but is not
     limited to, primary payors and/or thfrd parties that may be liable to Client arising from or relating
     to the Assigned .Clainis.

             On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

     15-08-24, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Century HealthCaret Inc. This second assignment agreement was executed by individuals of


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    majority, of sound mind, and witp. legal authority to bind the respective parties and was entered

     into under Delaware law:

     KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and in consideration of
     the sum of Ten Dollars ($10.00) and other good atDd valuable consideration, the receipt ofwhich is hereby
     acknowledged, irrevocably assigns. sell~. transfers, conveys, sets over and delivers to Assignee and it~
     successors and assigns, any and alJ ofAssignor's right, title, ownership and interest in and to the "Assigned
     Claims", "Claims", Assigned Assets!' and "Assigned Documents,, (and all proceeds and products thereof)
     as such t.enns are defined in the Actos Recovery Agreement dated August 27, 201S, and the Rea,very
     Agreement dated November 23, 2015, each by and among Century Health Care, Inc., a Florida
     corporation (the "Oient"), and MSP Recovery, LLC, a Florida limited liability company (together, the
     "Agreements"); irrespective of when the claims were vested in Client, inclusive. of any and all claim(s),
     caus~ of actions, proceeds, products and distn'butions of any kind, and proceeds of proceeds, in respect
     thereof, whether based in contract, tort, statutory right, and any and all rights (including, but not limited
     to, subrogation) to pursue and/or recover monies that Assignor had, may have had, or has asserted against
     any partr pursuant to the Agreement, including claims uncier cons~ei: protection statutes and .laws, any
     and all tights and claims against primary payers and/or third parti~ that may be li~ble to Client arising
     from or relating to the Claims and all infonnation relating thereto. The transfer, grant, tjght, or assignment
     of any and all of Client's right, title, ownership, interest and entitlements in and to the Agreement shall
     remain ~e confidential and exclusive properfy of Assignee or its assigns. The intent of the parties is to
     transfer any and all rights title and interest that MSP Recovery LLC obtained as ~ assignee from the
     assignor.

              Consideration was given between each party in executing these assignment agreements.

              15.     On November 23, 2015, Doctor's Group Management, Inc. entered into an

      assignment agreement with MSP Recovery, LLC, whereby it inevocably assigned ~ts right to

      recover conditional payments pursuant to state and federal law. The assignment agreement was

      executed by individuals of majority, of sound mind, and with legal authority to bind the respective

      parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

      the parties agreed to maintain the terms of the assignment agreement confidential:
               Client hereby assigns, transters, conveys, sets over and delivers to MSP Recovery, or its
       assigns, any and all of Client's right, title, ownership and interest in and to uJI rights and
       entitlements, and -all infonnation used to pursue and/or recover monies for Client that Client bas,
                                                              0
       may have had, or has asserted against any pa11y ( Assigned Claims").           This includes, but is not
       limited to, pr:iµu1ry payo~·s nnd/or third parties thnt mny be liable to Client arising from or relating
       to the Assigned Claims.

               On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

      15-08-26, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

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     assigned its right to recover co~ditional payments pursuant to state and federal law as assigned

     from Doctor's Group Management, Inc. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to,bind the respective parties and

     was entered into under Delaware law:

      KNOW AIL MEN BY TIIESE PRESENTS, that each undersigned Assignor, for and in consideration
      of the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt of which is
      hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
      and its succ:essors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
      "Assigned Claims", "Claims", Assigned Assets" and ..Assigned Documents" (and all proceeds and
      products thereof) as such terms are defined in the Ados Recovery Agreement dated August 27, 2015
      and the Recovery Agreement dated November 23, 2015, each by and among Doctors Group
      Management, Inc., a Florida corporation (the "Client"), and MSP Recovery, LLC, a Florida limited
      liability company (together, the "Agreements"); irrespective of when the claims were vested in Client.
      inclusive of any and all claim(s), causes of actions, proc.eeds, products and distributions of any kind, and
      proceeds of proceeds, in respect thereof, whether based in contract, tort, statutory right, and any and all
      rights (including. but not limited to, subrogation) to pursue and/or recover monies that Assignor bad,
      may have had, or has asserted against any party pursuant to the Agreement, including claims under
      consumer protection statutes and laws, any and all rights and claims against primary payers and/or third
      parties that may be liable to Client arising from or relating to the Claims and all information relating
      thereto. The tramfer, grant, right, or assignment of any and all of Client's right, title, ownership. interest
      and entitlements in and to the Agreement shall remain the confidential and exclusive property of
      Assignee or its assigns. The intent of the parties is to transfer any and all rights title and interest that
      MSP Recovery LLC obtained as an assignee from the assignor. ·

              Consideration was given between each party in executing these assignment agreements.

              16.     On October 9, 2015, Farid Marquez, MD, P.A. entered into an assignment

     agreement with MSP Recovery 529, LLC, whereby ~t irrevocably assigned its right to recover

     conditionaJ payments pursuant to state and federal law. The assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

     and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to m~tain the terms of the assignment agreement confidential:

              Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
      Recovery, or its assigns, in perpetuity, any and alJ of Client's right, title, ownership and interest in
      and to all rights and entitlements, and all information and data used to pursue and/or recover monies




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     for Client that Client has, may have had, or has asserted against any party (the ''Assigned Claims").
     This includes, but is not limited to, primary payors and/or third parties that may·be liable to Client
     arising from or relating to the Assigned Claims.

             On June 12, 2017, MSP Recovery 529, LLC entered into an assignment agreement with

     Series 15-09-284, a designated series of MSP Recovery Claims, Series LLC, whereby it

     irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

     assigned from Farid Marquez, MD, PA. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Delaware law:

      !(:NOW ALL MEN BY THESE PRESENTS, that eacb·undersigned Assignor, for and in consideration of
      the sum of.Ten Dollars ($10.00) and other gQOd and valuab)c consideration, the receipt of which is hereby
      acknowledged, iJ:revocab)y assigns, sells, transfers, conveys, sets over and de)ivers to Assignee and its
      suctessors and assigns, any and all ofAssignor's right, tide; ownership and interest in and to the «Assigned
      Claims", ''Claims", Assigned Assets" and "Assigned Documents,, (and all proceeds and products thereof)
      as such tenns are defin~ in the Health Care Claim{s) Cost Recovery Agreen;ient dated October 9,
      2015, l?y and among Farid Marqu~ MD, P.A., a Fh:~rida professional association (the "Client"), and
      MSP Recovery .529, LLC, a Delaware limited liability company (tb~ "Agreement"); irrespective of
      when the claims were vested in Client, inclusive o( any ~ all claim(~). ca~ of aCJions, proceeds,
      products and distributions of any kind, and proc.eeds o( proceeds, in respect thereof, whether based in
      ~tract, tort, sW\rtory right, and any and all rights (including,-but not limited to, subrQgatjon) to pu;sue
      and/or ~yer monies that AssignQ:r had, may ~aye ~d, or has -5serted against any party pursuaht to the
      A~eement, including c)aims under conswncrprotectjon statutes and Jaws, any and all nghts and claims
      against primary .payers and/or th.ird parties that may be liab)e to Client arising from .or re)ating to the
      Claims.and all infonnation relating thereto. The transfer, grant, right, or a,signment of any and all of
      Client's right; tjtle, ownership, interest and entitlements in and to tlie Agreement shall remain the
      c.o~d~tiai and ex~lusive property ~f Assignee or its assigns. The intent of the parties is to· transfer any
      and all rights title and interest that MSP RCCQvery LLC obtajned as an , ssignee from the usignor.

              Consideration was given between each party in executing these assignment agreements.

              17.     On October 8, 2015, Health Care Alliance Group, Inc. entered into an assignment

      agreement with MSP Recovery 15-475, LLC, whereby it irrevocably assigned its right to recover

      conditional payments pursuant to state and federal law. The assignment agreement was executed

      by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

      parties agreed to maintain the terms of the assignment agreement confidential:
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              Client hereby irrevocably.. assigns, transfers, conveys, sets over and delivers to MSP
      Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership and interest in
      and to all rights and entitlements, and all infonnation and data used to pursue and.tor recover monies
      for Client that Client has, may have had, or has asserte~ against any party incJuding. bijt not
      Ii mite d to. primary payors and/or third parties that may be liable to Client arising from or relating
      to the Assigned Claims.

              On June 12, 2017, MSP Recovery 1S-47S, LLC entered into an assignment agreement with

      Series lS-09-273, a designated series of MSP Recovery Claims, Series LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

      assigned from Healthcare Alliance Group, Inc. This second assignment agreement was executed

      by individuals of majority, of sound mind, and with leg~ authority to bind the respective parties

      and was entered into under Delaware law:

       KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and in consideration
       of the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt of which is
       hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
       and its successors and assigns. any and all of Assignor's right, title, ownership and interest in and to the
       "Assigned Claims", "Claims", Assigned Assets" and "Assigned Docum~~-s " (and all proceeds and
       products thereof) as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
       dated October 8, 2015, by and among Healthcare Alliance, Inc., a Florida corporation, also known as,
       Healthcare Alliance Group, Inc. (the "Client"), and MSP Recovery 1S-47S, LLC, a Delaware
       limited liability company (the "Agreement"); irrespective of when the claims were vested in Client,
       inclusive of any and all claim(s), causes of actions, proceeds, products and distributions of any kind, and
       proceeds of proceeds, in respect thereof, whether based in contract, tort, ~tatutory right, and any and all
       rights (including, but not limited to, subrogation) to pursue and/or recover monies that Assignor had,
       may have bad, or bas asserted against any party pursuant to the Agreement, including claims under
       consumer protection statutes and laws, any and all rights and claims against primary payers and/or third
       parties that may be liable to Client arising from or relating to the Claims and all information relating
       thereto. The transfer, grant, right, or assignment of any and all of Client's right, title, ownership, interest
     · and entitlements in and to the Agreement shall remain the confidential and exclusive property of
       Assignee or its assigns. The intent of the parties is to transfer ·any and all rights title and interest that
       MSP Recovery LLC obtained as an assignee from the assignor.

              Consideration was given between each party in executing these assignment agreements.

              18.      On September 14, 2015, Hygea Health Holdings, Inc. entered into an assignment

      agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

      conditional payments pursuant to state and federal law. The assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

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     and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to maintain the terms of the assignment agreement confidential:

               Client hereby irrcvoca.bly assigns, transfers, conveys, sets over arid delivers to MSP
       Re1:overy, or its assigns,-any and aU of Client's right, tide, ownership and interest in.and to all rights
      ancJ entitlements, and all information and data used to pursue and/or recover manics for Client that
       Client hns, may have had. or has asserted against any party including, but not limited to, primary
      payors a11d/or third parties that may be linble to Client arising from or relating to the Assigned
      Claims. By this Agreement, the parties acknowledge mid agree to the following: (i) the transfer,
      grant. right. or assignment of any and all of Client's right, title, ownership, interest.and entitleme.nts,
      and/or any other infonnation Client inokes available, as:Si~, transfers, conveys or delivers to
      MSP Recovery is proprietary, confidential and the sole property ofMSP Recovery or its assigns,
      and (ii) it shall remain the sole and exclusive property ofMSP Recovery, and (iii) sbaU survive I.he
      termination or expiration of this Agreement, notwJthstanding anything herein to the contrary.

             On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

     15-08-19, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pmsuant to state and federal law as assigned

     from Hygea Health Holdings, Inc. This second assignment agreement was executed by individuals

     of majority, of sound mind, and with legal authority to bind ~e respective parties and was entered

     into under Delaware law:

      KNOW AIL MEN BY 1HESE PRESENTS, that each undersigned Assignor, for and in consideration
      of the sum of Ten Dollars ($10.00) and other good and valuable consideration, the r,eceipt of which is
      hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
      and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
      "Assigned Claims", "Claims", Assigned Assets" and "Assigned Doaunents" (and all proceeds and
      products thereof) as such terms are defined in the Health Care Claims Cos~ Recovea'Y Agreement
      dated September 14, 2015, by and among Hygea Health Holdings Inc., a Florida corporation (the
      "Client"), and MSP Recovery, LLC, a Florida limited liability company (the "Agreement");
      irrespective of when the claims were vested in Client, inclusive of any and all claim(s), causes of
      actions, proceeds, products and distributions of any kind, and proceeds of proceeds, in respect ~ereof,
      whether.based in contract, tort, statutory right, and any and all rights (including, but not limited to,
      subrogation) to pW'SUe and/or recover monies that Assignor bad, may have bad, or has asserted against
      any party pursuant to the Agreement, including claims under consumer protection statutes and laws, any
      and all rights and claims against primacy payers and/or third parties that may be liable to Client aris~g
      from or relating to the Claims and all information relating thereto. The transfer, grant, right,. or
      assignment of any and all of Client•s right, title, ownership, interest and entitlements in and to the
      Agreement shall remain the confidential and exclusive property of Assignee or its assigns. The intent of
      the parties is to transfer any and all rights title and interest that MSP Recovery U..C obtained as an
      assignee from the assignor.


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             Consideration was given between each party in executing these assignment agreements.

             19.     On February 18, 2016, Medical IPA of the Palm Beach~, Inc. entered into an

     assignment agreement' with MSP Recovery, LLC, whereby it irrevocably assigned it~ right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals ofmajority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

     the parties agreed to maintain the terms of the assignment agreement confidential:

              Client hereby assigns, transfers, conveys, sets over and delivers to MSP Claims, or its
      assigns, to the extent it is legally pennitted any and all of Client's right, title, ownership and fnterest
      in and to all rights and entitlements, that Client has, may nave had, or has asserted against any
      party including primary payors and/or third parties that may be liable to Client arising from or
      relating to the Assigned Claims.                               ·

             On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

      16-02-436, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Medical IPA of the Palm Beaches, Inc. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and
                                                                                              '
     was entered into under Delaware law:




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     KNOW ALL MEN BY THESE PRESENTS, that each undersiped Assignor, for and in consideration of
     the sum ofTen DoJtars ($10.00) and other good and valuable consid~tion, the reiceipt of which is hereby
     acknowlcdgeci, irrevocably amgns, sells, transfers, conveys, sets over and delivers to Assignee and its
     successors and assigns, any and all ofAssignor's right. tide, ownership ~d intetestin '1\d to.the ~'Assigned
     Claims'', "Claims'\ Assi~cd Assets" and ''Assigned Docmncnts" (~d all proceeds IIJld products thereof)
     as such tmns are defineci in the Oaim(s) Cost Recovery Agreeril~t and Asiignment of Claims and
     Causes of Action dated February 18,.2016, by and among Meclieal IPA of tb, Palm Beadles, Inc., a
     Florida COIJ?C)ration (fhe '4Clieat"), and MSP Recover.y, LLC, a Florida .lunit<'!(i Jiability company (the
     "Agreement"); ~.spective of whe;n the claims w~e vested i':) Client, inclusive ·Qfany and all claim(s),
     causes of actions, proceeds, products and distributions of any kind, and proceeds of proceeds, in respect
     thereof; whether based in contract, tort, statutory. right, and any and all rigbt_s ·(including, but not limited
     to, subrogation) to pursue and/or recover monies that Assignor had, may have had, or has assert~ against
     any·party pursuant to t\le Agreement, including claims under consumer protection statutes and IJws, any
     81:ld aJl tiglits and claims against primary payers·and/or third -parties that may be liable to Client irl$ing
     from or relating to ~e Claims ~d all information relatiQg th.ereto. The transfer, grant, right, .or assignment
     of'ariy 3:11d all of Cli~t's right, title, ownership, interest ~d entitlements in and to the Agreement sha,11
     remain th~ confidential .and exclusive property of. Assignee or its assigns. The intent of the pa,rties is to
     trans.fer any and all rights title and interest 'that MSP Recovery LLC obtained as an assignee from the
     assignor.

              Consideration was given be~een each party in executing these assignment agreements.

              20.     On February 28, 2017, Arturo Corces, MD PA., dba Miami Institute for Joint

     Reconstruction, entered into an assignment agreement with MSP Recovery, LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law.

      The assignment agreement was executed by individuals of majority, of sound mind, and with legal

      authority to bind the respective parties and was entered into under Florida law. Pursuant to the

      terms of the assignment agreement, the parties agreed to maintain the terms of the assignment

      agreement confidential:
               Client hCRbyimM>cably assigns, transfers, conveys, sets over and d.cliw:n to MSP Recovery, aud
       any of its successors and assigns. ~ and all of Client' s right, title, ownership and interest in and to all
       Claims eximng an die date hereof, whether based in coDll'aCt, tort, statutory right, and any and all rights
       (including, but not limited 1D, subrogation) to pursue mcUor recover monies for Client that Climrt. had, may
       have bad, or has assen= against any party in connection witb the Claims aod all rights and claims agaiD&t
       primuy payers and/or 1hird partica tbat may be liable to Client ariJjq ftom ot relating to the Claims,
       including claims under consumer protection statutes and laws, and all information relating thereto, all of
       which shall constitute the ''Assigned Claims". The transfer, grant, right. or usigmnent of my ad all of
       Client's right, 1itle; ownership, interest and entitlements in and to the Assigned Claims shall remain tbe
       confidential and exclusive property of MSP Recovery or its assigns. This assigmm:nt is irrevocable and
       abaohUe.



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              On June 12, 2017, ·MSP Recovery, LLC entered into an assignment agreement with Series

      17-02-565, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

      assigned its right to recover conditional payments pursuant to state and federal law as assigned

      from Arturo Corces, MD PA., dba Miami Institute for Joint Reconstruction. lbis second

     assignment agreement was executed by individuals of majority, of sound mind, and with legal

      authority to bind the respective parties and was entered into under Florida law:

      KNOW ALL MEN BY. THESE PRESENTS, that each undersigned Assignor, for and in consideration of
      the suin of Ten Pollars ($10.00) and other good and valuable consideration, the receipt ofwhich is hereby
      acknowledged, irrevQcably ass~gn~ ~lls, transfers, conveys, sets over and delivers to Assignee and its
      successors and assigns, any and all ofAssignor's right, title, o~ership an~ interest in and to the ''Assigned
      C]aims~'. "Claims", Assigned Assets" and "Assigned Documents" {and all procccdi; and products thereof)
      as such tenus arc defmed in the Recovery Agreement dated Februa17 28, 2017, by a:md IIIJlODg Arturo
      Corces MD, P.A., dba Miami lnstifute for Joint Reconstruction , a Florida professional association,
      and MSP Recovery, LLC, a Florida limited liability company (the"Agreement"); irrespective of when
      the claims were vested in Client, inclusive of any ~d all claim(s), C!lUSCS of actions, proceeds, products
      and distributio~s of any kind, and proceeds.of proceeds, in respect thereof, whether based in contract, tort,
      statutocy right, and any and aJJ rights (including, but not limited to, subrogation) to pursue and/or recover
      monies that Assignor had, may have had, OF has asserted against any party pursuant to the Agre.ement,
      in~luding claim.s upder ~onsumer prQtcction statutes and laws, any and all rights and claims against
      primary payers and/or third parties -that may be liable to Client arising fr9m or relating to the Claims and
      all information relatin,& thereto. The transfer, grant, right, or as.signment of any and all of Client's right,
      title, ownership, interest and entitlements in and to the Agreement shall remain the confidentiaJ and
      exclusive.property ofAssignee or its assigns. The intent ofthe parties is to transfer any and all rights title
      ancJ intetestthat MSP Recovery LLC obtained as an assignee from the assignor.

              Consideration was given betwe.en each party in executing these assignment agreements.

              21.     On November 8, 2016, OrtboNow Doral, LLC entered into an assignment

      agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

      conditional payments pursuant to state and federal law. The assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to maintain the terms of the assignment agreement confidential:

              Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
              Recovery, and any of its successors and assigns, any and all of Client's right, title,
              ownership and interest in and to all Claims existing on the date hereof, whether

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              based in contract, tort, statutory right, and any and all rights (including, but not
              limited to, subrogation) to pursue and/or recover monies for Client that Client had,
              may have had, or has asserted against any party in connection with the Claims and
              all rights and claims against primary payers and/or third parties that may be liable
              to Client arising from or relating to the Claims, including claims under consumer
              protection statutes and laws, and all information relating thereto, all of which shall
              constitute the "Assigned Claims". The transfer, grant, right, or assignment of any
              and all of Client's right, title, ownership, interest and entitlements· in and to the
              Assigned Claims shall remain the confidential and exclusive property of MSP
              Recovery or its assigns. This assignment is irrevocable and absolute.

              Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
              Recovery, and any of its successors and assigns, any and all of Client's right, title,
              ownership and interest in and to all documents relating to the Assigned Claims (the
              "Assigned Documents"). The Documents include, but are not limited to, those
              documents listed on Schedule A to the attached.

              On June 12, 2017, MSP Recovery, LL<;: entered into an assignment agreement with Series

      16-11-524, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as as~igned

     from OrthoNow, LLC and/or OrthoNow Doral,                 LLC.
                                                                 •
                                                                      This second assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Delaware law:

      KNOW ALL MEN BY THESE PRESENTS, that each.undersigned Assignor, for aJ)d in consideration of
      the~ ofTen Dollars {$10.00.) and other good and valuable consideration, the receipt of which is hereby
      ac~owledged, irrevocably as.~igns, sells, transfers, conveys, sets ov.er and delivers to Assignee and its
      successors and assigns, any and all ofAssignor·~ right, title, ownership and interest in and to the "Assigned
      Clai·ms", "Claims", Assigned Assets" and "Assi~~ Doc~en~s" (and all proceeds and products ther.eof)
      a~ such terms are defined in the Recovery Agreement dated November 8, 20l6,.by a))d among Orthonow
      Doral, also known as, OrthoNow, LLC, a Florida limited ·1iabiiity company (tbe "Cli.ent"}, apd ~~p
      R~overy, ~LC, a FJorida limited liability company (the "Agreement"); irrespective of when the claims
      were vested in. Client, ~lusive of any and all ~laim{s), causes         of   actions, proceeds, products and
      distn'butions of any kind, and proceeds of proceeds, in r ~ t thereof, whether .~~sed in contract, tort,
      statutory right, ,pid any and all rights (including, but not limited to, subrogation) 10 pursue and/or recov.er
      JDOnies that A,ssignor la4d, may have had, or has .asser:ted. against any party pwwa:nt to the Agreement,,
      including c!lilms under consumer protection statutes and Jaws, any and all rights and claims against
      primary payers and/or third parti~ that may b'e lial,le to Client arising from or·reiating to the Claims and
      all infonnation relating thereto. The transfer, grant, right; or assignment of any and all of Client's right,
      title, owne,s}up, 4iterest and entitlements in and to the Agreement shall rerµain the CC)Qfid~tiaJ and
      exclusive property ofAssignee or its assigns. The intent of the parties is to transfer any and a}J rights title
      and intetest th.at.MSP Recovery LLC obtained as an assignee from the assignor.


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             Consideration was given between each party in executing these assignment agreements.

             22.     On December 23, 2015, Palm-Beach Primary Care Associates, Inc. entered into

      an assignment agreement with MSP Reco:very 16-1, LLC, whereby it irrevocably assigned its right

     to recover conditional payments pursuant to state and federal law. The assignment agreement was

      executed by individuals ofmajority, of sound mind, and with legal authority to bind the respe.ctive

     parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

      the parties agreed to maintain the terms of the assignment agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, or its assigns, in perpetuity, any and all of Client's right, title, own':rship
             and interest in and to all rights and entitlements, and all information and data used
             to pursue and/or recover monies for Client that Client has, may have had, or has
             asserted against any party (the "Assigned Claims"). This includes, but is not limited
             to, primary payors and/or third parties that may be liable to Client arising from or
             relating to the Assigned Claims.

             On June 12, 2017, MSP Recovery 16-1, LLC entered into~ assignment agreement with

      Series 16-01-409, a .designated series of MSP Recovery Claims, Series LLC, whereby it

      irrevocably as.signed its right to recover conditional payments pursuant to state and federal law as

      assigned from Palm Beach Primary Care Associates, Inc. This second assignment agreement was

      executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Delaware law:




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     KNOW ALL MEN BY THESE PRESENTS, that each unders:igned Assignor, for and in consideration qf
     tlie sum of Ten Dollars ($10.00} and other good and valuable co~ideration, the receipt of which is hereby
      acknowledged, i11evocabJy assigns, s~lls, transf~, conveys, sets over and delivers to Assignee and its
     successors and assigns, any·aad all of Assignor's right, title, ownership and interest in and to the "Assigned
     Claims", "Claims", Assigned Assets" and "AJsigned Documents" (and all proceeds and products thereof)
     as such terms are defined in the Oaim(s) Cost Recovery Agreement and .Assignment of Claims and
     Causes of Acdon dated February 18, 2016, by and among Medical IPA of the Palm Beaches, In~, a
     Florida corporation (the "Clirnt"), and ~SP Recovery, LLC, a Florida limited liability company (the
     "Acreement"); irrespective of when the claims were vested in Client, inclusive of any and all c]aim(s),
     causes of actions! proceeds, products and distributions of any kind, ind pro~eds of proceeds, in respect
     there.at whether based in contract, tort, statutory righ~ and ~y and all rights (including, but not limited
     to, S)Jbrogation} to pursue and/or recover monies that Assignor had, may have had, or has·assertcd against
     any party pursuant to the Agreement, including claims under consumer protection statutes and laws, any
     and all rights and claims against primary payers and/or third partie_s that may be lia\,Je to Client arising
     from or relating to the Claims and all infonnation relating thereto. ~e transfer, grant, right, or assignment
     of any and all of Client's right, title, ownership, interest and entitlements in and to the Agreement shall
     remain the confidential and exc1usive pi:ope11y uf A1111ignee or its assigns. ,:he int~, of the partjes is to
     transfer any and all rigb~ title and interest that MSP Recovery LLC obtained as an ~gnee from the
     ~signor.

             Consideration was given between each party in executing these assignment agreements.

             23.     On October 29, 2015, PAUG/PHPG/PAG, also known as Physician Access

     Urgent Care Group, LLC, entered into an assignment agreement with MSP Recovery 15-580,

     LLC, whereby it irrevocably assigned its right to recover conditional payments pursuant to state

     and federal law. The assignment agreement was executed by individuals of majority, of sound

     mind, and with legal authority to bind the respective parties and was entered into under Florida

     law. Pursuant to the terms of the assignment agreement, the parties agreed to maintain the terms

     of the assignment agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership
             and interest in and to all rights and entitlements, and all information and data used
             to pursue and/or recover monies for Client that Client has, may have had, or has
             asserted against any party (the "Assigned Claims"). This includes, but is not limited
             to, primary payors and/or third parties that may be liable to Client arising from or
             relating to the Assigned Claims.

             On June 12, 2017, MSP Recovery 15-580, LLC entered into an assignment agreement with

     Series 15-10-362, a designated series of MSP Recovery Claims, Series LLC, whereby it


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     irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

     assigned from PAUO/PHPG/PAO and/or Physician Access Urgent Care Group, LLC. This second

     assignment agreement was executed by individuals of majority, of sound mind, and with legal

     authority to bind the respective parties and was entered into under Delaware law:

      KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and in consideration
      of the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt of which is
      hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
      and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
      0
       Assigned Claims", "Claims", Assigned Assets" and ..Assigned Documents" (and all proceeds and
      products thereof) as such terms are defined in the Health Care Oaim(s) Cost Recovery Agreement
      dated October 29, 201S, by and among PAUC/PHPG/PAG, also known as, Physician Access Urgent
      Care Group, LLC., a Florida limited liability company (the "Client''), and MSP Recovery 15-SSO,
      LLC, a Delaware limited liability company (the "Agreement"); irrespective of when the claims were
      vested in Client, inclusive of any and all claim(s), causes of actions, p r ~. products and distributions
      of any kind, and proceeds of proceeds, in respect thereo( whether based in contract, tort, statutory right,
      and any and all rights (including, but not limited to, subrogation) to pursue and/or recover monies that
      Assignor bad, may have had, or has asserted against any party pursuant to the Agreement., including
      claims under consumer protection statutes and Jaws, any and all rights and claims against primary payers
      and/or third parties that may be liable to Client arising from or relating to the Claims and all infonnation
      relating thereto. The transfer. grant, right, or assignment of any and all of Client's right, title, ownership.
      interest and entitlements in and to the Agreement shall remain the confidential and exclusive property of
      Assignee or its assigns. The intent of the parties is to transfer any and all rights title and interest that
      MSP Recovery ILC obtained as an assignee from the assignor.

             Consideration was given between each party in executing these assignment agreements.

              24.     On February 18, 2016, Preferred Primary Care, LLC entered into an assignment

     agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

     conditional payments pursuant to state and federal law. The assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

     and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to maintain the terms of the assignment agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, and any of its successors and assigns, any and all of Client's right, title,
             ownership and interest in and to all Claims existing on the date hereof, whether
             based in contract, tort, statutory right, and any and all rights (including, but not
             limited to, subrogation) to pursue and/or recover monies for Client that Client had,
             may have bad, or has asserted against any party in connection with the Claims and

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             all rights and claims against primary payers and/or third parties that ·may be liable
             to Client arising from or relating to the Claims, including claims under consumer
             protection statutes and laws, and all information relating thereto, all of which shall
             constitute the "Assigned Claims". The transfer, grant, right; or assignment of any
             and all of Client's right, title, ownership, interest and entitlemen~ in and to the
             Assigned Claims shall remain the confidential and exclusive property of MSP
             Recovery or its assigns. This assignment is irrevocable and absolute.

             On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

     16-02-435, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Preferred Primary Care, LLC. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Delaware law:

      KNOW ALL MEN BY TIIESE PRESENTS, that each undersigned Assignor, for and in consideration of
      the sum _o f Ten DoUars ($10.00) and other ffl)od and valuable consideration, the receipt ofwhich is hereby
      acknowl~ged, irrevocably assiP.5, sells, transfers, conveys, sets over and d~livers to Assign~ apd its
      successo,:s.and assign~ any and all of Assignor's right, title, ownership and interest iii and to the "Assigned
      Claims", ''Claims", Assigned Assets" and"Assigned Doc\DDents.. (!llld all proceeds and products.thereof)
      as such. tenns arc defmed in the Recovery Agree.,.ent dated July 1.9, 2017, by and among Premier Care.
      Partncn,.LLC, a Florida limited liability company (the ''Client"}, ~d MSP ~eco-v,ry, LLC, a FlQrida
      iimited liability .oompany (the "Agreement"); iJTespective of when the claims· were v~(ed in Client,
      inclusive ofany·and all claim(s}, causes of ,ctions, proceeds, products and distributions of any k:ind, and
      p,;oceeds of prQceeds, in respect tb,ereof, Whether based in contract, tort, statut9ry tight, and  any   and all
      rights (including, but not limited to, subrogatiOQ) to pursue and/or recover moni,es that Assignor had, may
     .have had. or has asserted against any party pursuant to.the Agreement, including.claims under consumer
      protection statu~ and Jaws, any-and all rights and claims against primary payers and/or third parties that
      may be liable to Client arising from or relating to Uie Claims and ·all information-telatiq ~ercto. The
      transfer, grant, righti or assignment of any and all of Client's ri$f1t, title, own~p. int~t and
      entitlements in 11nd.to the Agreement shall.remain the confidential -ana exclusive property of Assignee or
      its assign_s. The intent of ~e parti~ is to ~sfer any and ~ rigbts title and interest that MSP Recovery
      LLC qbtained' as an assi~ee from the assipor.

             Consideration was given between each party in executing these assignment agreements.

             25:      On August 13, 2015, Presgar Imaging of CMI North, LLC entered into an

     assignment agreement with MSP Recovery 200, LLC, whereby it irrevocably assigned its right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

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      parties and was entered into under Florida law. Pursuant to the tenns of the assignment agreement,

      the parties agreed to maintain the terms of the assignment agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership
             and interest in and to all rights and entitlements, and all information and data used
             to pursue and/or recover monies for Client that Client has, may have had, or has
             asserted against any party (the "Assigned Claims"). This includes, but is not limited
             to, primary payors and/or third parties that may be liable to Client arising from or
             relating to said claims.

             On June 12, 2017, MSP Recovery 200, LLC entered into an assignment agreement with

      Series 15-08-21, a designated series ofMSP Recovery Claims, Series LLC, whereby it irrevocably

      assigned its right to recover conditional payments pursuant to state and federal law as assigned

      from Presgar Imaging of CMI North, LLC. lbis second assignment contract was executed by

      individuals of majority, of sound mind, and with legal authority to bind the respective parties and

      was entered into under Delaware law:

      KNOW ALL MEN BY TIIESE PRESENTS, that each undersigned Assignor, for and in consideration
      of the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt of which is
      hereby acknowledged, irrevocably assigns. sells, transfers, conveys, sets over and·delivers to Assignee
      and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
      "Assigned Claims", "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
      products thereof) as such temis are defined in the Health Care Claims Costs Recovery Agreement
      dated August 13, 2015, by and among Presgar Imaging of CMI North, LLC., a Florida limited
      liability company (the "Client'), and MSP Recovery 200, LLC, a Delaware limited liability company
      (the "Agreemenf1; irrespectiv~ of when the claims were vested in Client, inclusive of any and all
      claim(s), causes of actions, proceeds, products and distributions of any kind, and proceeds of proceeds,
      in respect thereof, whether based in contract, tort, statutory right, and any and all rights (including, but
      not limited to, subrogation) to pursue and/or recover monies that Assignor had, may have had, or has
      asserted against any party pursuant to the Agreement, including claims under consumer protection
      statutes and laws, any and all rights and claims against primary payers and/or third parties that may be
      liable to Client arising from or relating to the Claims and all information relating thereto. The transfer,
      grant, right, or assignment of any and all of Client's right, title, ownership, interest and entitlements in
      and to the Agreement shall remain the confidential and exclusive property of Assignee or its assigns.
      The intent of the parties is to transfer any and all rights title and interest that MSP Recovery LLC
      obtained as an assignee from the assignor.

             Consideration was given between each party in executing these assignment agreements.




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             26.    On September 21, 2015, Quality Medical Association of West Delray, Inc.

     entered into an assignment agreement with MSP Recovery 16-2, LLC, whereby it irrevocably

      assigned its right to recover conditional payments pursuant to state and federal law. The

      assignment agreement was executed by individuals of majority, of sound mind, and with legal

      authority to bind the respective parties and was entered into under Florida law. Pursuant to the

      terms of the assignment agreem~t, the parties agreed to maintain the terms of the .assignment

      agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership
           . and interest in and to all rights and entitlements, and all information and data used
             to pursue and/or recover monies for Client that Client has, may have had, or has
             asserted against any party (the "Assigned Claims"). This includes, but is not limited
             to, primary payors and/or third parties that may be liable to Client arising from or
             relating to the Assigned Claims.

             On June 12, 2017, MSP Recovery 16-2, LLC entered into an assignment agreement with

      Series 16-01-410, a designated series of MSP Recovery Claims, Series LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

      assigned from Quality Medical Association of West Delray, Inc. This second assignment

      agreei;nent was executed by individuals of majority, of sound mind, and wi~ legal authority to

      bind the respective parties and was entered into under Delaware law:




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     KNOW ALL MEN BY TIIESE PRESENTS, that each undersigned Assignor, for and in consideration
     of the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt of which is
     hereby acknowledged, irrevocably assigns, sells, transfers,.conveys, sets over and delivers to Assignee
     and its succ.essors and assigns, any and all of Assignor' s right, title, ownership and interest in and to the
     "Assigned Claims", "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
     products thereof) as such terms are defined in the Healthcare Claim(s) Cost Recovery Agreement
     dated September ll, 2015, by and among Quality Medical Assoc. of West Delray, also known as,
     Quality Medical Association of West Delny, Inc., a Florida corporation (the "Client"), and MSP
     Recovery 16-2, LLC, a Delaware limited liability company (the "Agreement"); irrespective of when
     the claims were vested in Client, inclusive of any and all claim(s), causes of actions, proceeds, products
     and distributions of any kind, and proceeds of proceeds, in re~t thereof. whether based in contract,
     tort, statutory right, and any and all rights (including, but not limited to, subrogation) to pursue and/or
     recover monies that Assignor had, may have had, or has asserted against any party pursuant to the
     Agreement, including claims under consumer protection statutes and laws, any and all rights and claims
     against primary payers and/or third parties that may be liable to Client arising from or relating to the
     Claims and all information relating thereto. The transfer, grant, right, or assignment of any and all of
     Client's right, title, ownership, interest and entitlements in and to the Agreement shall remain the
     confidential and exclusive property of Assignee or its assigns. The intent of the parties is to transfer any
     and all rights title and interest that MSP Recovery LLC obtained as an assignee from the assignor.

             Consideration was given between each party in executing these assignment agreements.

             27.      On November 23, 2015, Quality Physicians Management, Inc. entered into an

      assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to

      recover conditional payments pursuant to state and federal law. The assignment agreement was

      executed by individuals of majority, of sound mind, and with legal authority to bind the respective

      parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

      the parties agreed to maintain the terms of the assignment agreement confidential:

             Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
             or its assigns, any and all of Client's right, title, ownership and interest in and to all
             rights and entitlements, and all information used to pursue and/or recover monies
             for Client that Client has, may have had, or has asserted against any party
             ("Assigned Claims"). This includes, but is not limited to, primary payors and/or
             third parties that may be liable to Client arising from or relating to the Assigned
             Claims.

             On June 12, 2017, MSP Recovery LLC entered into an assignment agreement with Series

      15-08-23, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

      assigned its right to recover conditional payments pursuant to state and federal law as assigned


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     from Quality Physicians Management, Inc. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Delaware law:

     KNOW ALL MEN BY THESE PRESENTS. that each un!,icrsigned Assignor, for and in consideration
     of the sum of Ten Dollars ($10.00) and other good and valuable consideration. the receipt of which is
     hereby aclatowledged, irrevocably assigns. sells, transfers, conveys, sets over and delivers to Assignee
     and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
     "Assigned Claims", "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
     products thereof) as such terms are defined in the Ados Recovery Agreement dated August 27, 201S
     and Recovery Agreement dated November 23, 201S, each by and among Quality Physician
     Management, Inc., a Florida corporation (the "Client"), and MSP Recovery, LLC, a Florida limited
     liability company (together the "Agreements"); irrespective of when the claims were vested in Client,
     inclusive of any and all claim(s), causes of actions, proceeds, products and distributions of any kind, and
     proceeds of proceeds, in respect thereof, whether based in contract. tort. statutory right, and any and all
     rights (including, but not limited to, subrogation) to pursue and/or recover monies that Assignor had,
     may have had, or has asserted against any party pursuant to the Agreement, including claims under
     consumer protection statutes and laws, any and all rights and claims against primary payen and/or third
     parties that may be liable to Client arising.from or relating to the Claims and all information relating
     thereto. The transfer, grant, right, or assignment of any and all of Client's right, title, ownership, interest
     and entitlements in and to the Agreement shall remain the confidential and exclusive property of
     Assignee or its assigns. The intent of the parties is to transfer any and all rights title and interest that
     MSP Recovery LLC obtained as an assignee from the assignor.

             Consideration was given between each party in executing these assignment agreements.

             28.      On February 18, 2016, Risk Watchers, loc. entered into an assignment agreement

     with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover conditional

     payments pursuant to state and federal law. The assignment agreement was executed by

     individuals of majority, of sound mind, and ~ith legal authority to bind the respective parties and

     was entered into under Florida law. Pursuant to the terms of the assignment agreement, the parties

     agreed to maintain the terms of the assignment agreement confidential:

              Client hereby assigns, transfers, conveys, sets over and delivers to MSP Claim.s, or its
      assigns, to the extent it is legally permitted any and all ofClient' s right, title, ownership and interest
      in and to alJ rights and entitlements, that Client has, may have h'ad, or has asserted against any
      party including primary payors and/or third parties that may be liable to Client arising from or
      relating to the Assigned Claims.




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             On June 12, 2017, MSP Recovery LLC entered into an assignment agreement with Series

      15-09-31 , a designated series of MSP Recovery Claims, Series LLC, whereby it ·irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Risk Watchers, Inc. This second assignment agreement was executed by individuals of

     majority, of sound mind, and with legal authority to bind the respective parties and was entered

     into under Delaware law:

      KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and in consideration
      of the sum of Ten Dollars (Sl0.00) and other good and valuable consideration, the rec~ipt of which is
      hereby acknowledged, irrevocably assigns, sells, transfers, conveys. sets over and delivers to Assignee
      and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
      "Assigned Claims", "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
      products thereof) as such terms are defined in the Oaim(s) Cost Recovery Agreement and
      Assignment of Oaims and Causes of Action dated February 18, 2016, by and among Risk
      Watchers, Inc., a Florida COlJ>Oration, also lmown as, Bea1thy Partners / Risk " 'atchers, Inc (the
      "CUent"), and MSP Recover)', LLC, a Florida limited liability company (the "Agreement'');
      irrespective of when the claims were vested in Client, inclusive of any .an~ all claim(s), causes of
      actions, proceeds, products and distributions of any kind, and proceeds of proceeds, in respect thereof:
      whether based in contract, tort, statutory right, and any and all rights (including, but not limited to,
      subrogation) to pursue and/or recover monies that Assignor had, may have had, or has asserted against.
      any party pursuant to the Agreement, including claims under consumer protection statutes and laws, any
     ·and all rights and claims against primary payers and/or third parties that may be ii.able to Client arising
      from or relating to the Claims and all information relating thereto. The transfer, grant, right, or
      assignment of any and all of Client's right, title, ownership, interest and entitlements in and to the
      Agreement shall remain the confidential and exclusive property of Assignee or its assigns. The intent of
      the parties is to transfer any and all rights title and interest that MSP Recovery LLC obtained as an
      assignee from the assignor.                                                         ·

             Consideration was given between each party in executing these assignment agreements.

             29.      On September 21, 2015, Suncoast Medical Network 2, Inc. entered into an

     assignments agreement with MSP Recovery, 220, LLC, whereby it irrevocably assigned its right

     to recover conditional payments pursuant state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the tetms ofthe assignment agre~ent,

     the parties agreed to maintain the terms of the assignment agreement confidential:



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             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership
             and interest in and to all rights and entitlements, and all information and data used
             to pursue and/or recover monies for Client that Client bas, may have had, or has
             asserted against any party (the "Assigned Claims"). This includes, but is not limited
             to, primary payors and/or third parties that may be liable to Client arising from or
             relating to the Assigned Claims.

             On June 12, 2017, MSP Recovery 220, LLC entered into an assignment agreement with

     Series 15-08-10, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Suncoast Medical Network 2, Inc. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and
                                      r.
     was entered into under ~elaware law:

     KNOW AU. MEN BY 1HESE PRESENTS, that each undersigned Assignor, for and in consideration
     of the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt of which is
     hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
     and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
                        0
     "Assigned Claims "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
                            ,

     products thereof) as such terms are defined in the Healthcare Claim(s) Cost Recovery Agreement
     dated September 21, 2015, by and among SunCoast Medical Network 2, Inc., a Florida corporation
     (the "Client"), and MSP Recovery 220, LLC, a Delaware limited liability company (the
     "Agreement"); irrespective of when the claims were vested in Client, inclusive of any and all claim(s),
     causes of actions, proceeds, products and distributions of any kind, and proceeds of proceeds, in respect
     thereof, whether based in contract, tort, statutory right, and any and all rights (including, but not limited
     to, subrogation) to pursue and/or. recover monies that Assignor had, may have had, or has asserted
     against any party pursuant to the Agreement, including claims under consumer protection statutes and
     laws,.any and all rights and claims against primary payers and/or third parties that may be liable to
     Client arising from or relating to the Claims and all information relating thereto. The transfer, grant,
     right. or assignment of any and all of Client's right, title, ownership, interest and entitlements in and to
     the Agreement shall remain the confidential and exclusive property of Assignee or its assigns. The intent
     of the parties is to transfer any and all rights title and interest that MSP Recovery LLC obtained as aii
     assignee from the assignor.

             Consideration was given between each party in executing these assignment agreements.

             30.     On November 9, 2015, Suncoast Provider Network, Inc. entered into an

     assignment agreement with MSP Recovery 15-608, LLC, whereby it irrevocably assigned its right

     to recover conditional payments pursuant to state and federal law. The assignment agreement was


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      executed by individuals of majority, of sound mind, and with legal authority to bind the respective

      parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

      the parties agreed to maintain the terms of the assignment agreement confidential:

             Clie1~.t hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership
             and interest in and to all rights and entitlements, and all information and data used
             to pursue and/or recover monies for Client that Client has, may have had, or has
             asserted against any party (the "Assigned Claims"). This includes, but is not limited
             to, primary payors and/or third parties that may be liable to Client arising from or
             relating to the Assigned Claims.

             On June 12, 2017, MSP Recovery 15-608, LLC ~tered into an assignment agreement with

      Series 15-11-387, a designated series of MSP Recovery Claims, Series LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

      assigned from Suncoast Provider Network, Inc. This second assignment agreement was executed

      by indiyiduals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Delaware law:

      KNOW ALL MEN BY TIIESE PRESENTS. that each undersigned Assignor, for and in consideration
      of the sum of Ten Dollars ($10.<>0) and other good and valuable consideration, the receipt of which is
      hereby acknowledged. irrevocably assigns. sells. transfers, conveys: sets over and delivers to Assignee
      and its successors and assigns, any and all of Assignor's right. title, ownership and interest in and to the
      "Assigned Claims", "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
      products thereof) as such terms are defined in the Health Care Oaim(s) Cost ~ecovery Agreement
      dated November 9, 201S, by and among Suncoast Provider Network, Inc., a Florida coipOration (the
      "Client"), and MSP Reco,•ery lS-608, LLC, a Delaware limited liability company (the
      "Agreement"); irrespective of when the claims were vested in Client, inclusive of any and all claim(s),
      causes of actions, proceeds, products and distributions of any kind. and proceeds of proceeds, in respect
      thereof: whether based in contract, ton, statutory right, and any and all rights (including, but not limited
      to, subrogation) to pursue and/or recover monies that Assignor had, may have bad, or has asserted
      against any party pW'SU8Dt to the Agreement, including claims under consumer pro~ection statutes and
      laws, any and all rights and claims against primary payers and/or third parties that may be liable to
      Client arising from or relating to the Claims and all information relating thereto. The transfer, grant,
      right, or assignment of any and all of Client's right, title, ownership, interest and entitlements in and to
      the Agreement shall remain the confidential and exclusive property of Assignee or its assigns. The intent
      of the parties is to transfer any and all rights title and interest that MSP Recovery LLC obtained as an
      assignee from the assignor.

             Consideration was given between each party in executing these assignment agreements.


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             31.     On November 3, 201 ~' Transatlantic Healthcare, Inc. entered into an assignment

      agreement with MSP Recovery 15-131, LLC, whereby it irrevocably assigned its right to recover

      conditional payments pursuant to state and federal law. The assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

      parties agreed to maintain the terms of the assignment agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership
             and interest in and to all rights and entitlements, and all information and data used
             to pursue and/or recover monies for Client that Client has, may have had, or has
             asserted against any party (the "Assigned Claims,,). This includes, but is not limited
             to, primary payors and/or third parties that may be liable to Client arising from or
             relating to the Assigned Claims.

             On June 12, 2017, MSP Recovery 15-131, LLC entered into an assignment agreement with

      Series 15-11-385, a designated series of MSP ~Recovery Claims, Series LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

      assigned from Transatlantic Healthcare, Inc. ~s second assignment agreement was executed by

      individuals of majority, of sound mind, and with legal authority to bind the ~ective parties and

      was entered into under Delaware law:




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      ~OW ALL MEN BY TIIBSE PRESENTS, that each undersigned Assignor, for and in consideration of
      the sum .ofTeo f?ollars (SJ 0. 00) and other good and valuable consideration, tbe receipt of which is hereby
      acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee and its
      successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the "Assigned
      Claims", "Claipls", Assigned Assets" and "As.signe.d Documents" (and all'proceeds ~d.p.roduca thereof)
      as such tenns are defmed in the Health Care Claim(s) Coat'Recovery Agreement dated November 3,
      201S, by and among Transatlantic Healthcare, also known as Transatlantic Healthcare lac., a Florida
      corporation (the "Client''), and MSP Recovery 15-131, LLC, ~ Florida limited liability comp~y (the
      "Agreement"); irrespective of when the claims were vested in Client, inclu~ive of any and all claim(s),
      causes ·o f actior;is, ~eds, products and distributions of any kind, and proceeds of proceeds, in i:espect
      thereof, whether·based in contract, to~ statutory tjght, and any and all rights (including, but not limited
      to, subrogation) to pursue and/or recover monies that Assiplor had, ~y have had, or has asserted against
      any party pursuanno the Agreement, including claims under consumer protection statutes and laws, any
      BQ.d all rights and claims against primary payers and/or third parties that may be liable to Client arising
      from or relating to the Claims and all information relating thereto. The transfer, grant, righ~ or assignment
      of any and all of Client's right, titl~. ownership, interest and entitlements in ·and to the Agreement shall
      remain the confidential and exclusive property of Assignee or its assigns. The intent of the parties is to
      transfer any and all rights title and interest that MSP Recovery UC obtained as an assignee          from   the
      assignor.

              Consideration was given between each party in executing these assignment agreements.

              32.     On November 3, 2015, Trinity Physicians, LLC entered into an assignment

      agreement with MSP Recovery 15-592, LLC, whereby it irrevocably assigned its right to recover

      conditional payments pursuant to state and federal law. The assignment agreement was executed

      by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

      parties agreed to maintain the terms of the assignment agreement confidential:

              Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
              Recovery, or its assigns, in perpetuity, any and all of Client's right, title, ownership
              and interest in and to all rights and entitlements, and all information and data used
              to pursue and/or recover monies for Client that Client has, may have had, or has
              asserted against any party (the "Assigned Claims"). This includes, but is not limited
              to, primary payors and/or third parties that may be liable to Client arising from or
              relating to the Assigned Claims.
               On June 12, 2017, MSP R~very 15-592, LLC entered into an assignment agreement with

      Series 15-11-371, a designated series of MSP Recovery Claims, Series LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law as


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     assigned from Trinity Physicians, LLC. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Delaware law:

      KNdW ALL MEN BY TIIESE PRESENTS. that each undersigned Assignor, for and in consideration Qf
      the sum ofTen Dollars ($10.00) and other good and valuable consideration, the receipt of.which is hereby
      acknow1edgt4, irrevocably assigns, sells, transfers, conveys, sets over and .delivers to Assipcc and its
      succes~rs ~d assigns, any and all ofAs~ignor'sright, title, ownership and interest in and to the "Assigned
      Claims", ''Claims", Assigned Assets0 and 0 Assigne~ Documents"·((U)d ~n.pro~s and products thereof)
      as such terms are defined in the Actos Recovery -Agreement dated October 29, 2015 and the Health
      Care Clalm(s) Cost Recovery. Agreement dated November 3~ 2015, each by and amoi;ig ~ity
      Pbysldans, LLC., a Florida limited liability company (tbe "Clien~"), and MSP Recovery 1S-S92, LLC,
     ·a Delaware limit¢ liability comp~y, and MSP Recqvery, LLC., a.Florida limited liability company
      (to1etber, the "Agreement"); inespective of when the c)aims were vested in Client, inclusive of any·and
      ali claim(s), causes of actions, proceeds, products and distributions ofany'kind, and proceeds ofproceeds,
      in respect them>( whether based in contract, tort, statutory right, and.any and.all rights (including, but not
      limited to, subrogation) to pursue and/or recover monies that Assignor had, may have had, or has asserted
      ag~st any party pumiant to the Agreements, including claim$ under consumer protection statutes and
      laws, any and all rights and claims ag~st primary payers and/or~ parties that ~Y be liable to Client
      arising ftom or relating to the Claims and all infonnation relating thereto. The transfer, grant, rig)),t, or
      ass~gnment of any and aU of CJient'·s right, title, ownership, interest and entitlements in and to the
      Agreements slµtU remain the coiµidential and exclusive property of Assignee or its assigns. The int~t of
      tfu: p&(ties is to transfer any arid all rights title a,,d interest that MSP Recovery LLC obtained as an assignee
      ~m the assignor.

              Consideration was given between each party in executing these assignment agreements.

              33.     On November 23, 2015, University Health Care MSO, Inc. entered into an

     assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

     the parties agreed to maintain the terms of the assignment agreement confidential:




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               Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery, or its
       nssigns, any and nil of Client's ri!hl. title, ownership and interest in and to all rights and
       entitlements, and all information used to pursue and/or recover monies for Client that Client has,
       may have had, or has asserted against any party ("Assigned Claims").        This includes, bul is not
       limited to, primary payors and/or third parties that may be liable'to Client arising from or relating
       to the Assigned Claims.

              On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

      15-08-25, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

      assigned its right to recover conditional payments pW'Suant to state and federal law as assigned

      from University Health Care MSO, Inc. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Delaware law:
      KNOW ALL MEN BY TIIBSE PRESENTS, that each undersigned Assignor, for and in consideration
      of the sum of Ten Dollars ($10.00) and other good and valua'ble consideration, the receipt of which is
      hereby acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee
      and its successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the
      "Assigned Claims", "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
      products thereof) as such terms are defined in the Ados Recovery Agreement dated August 27, 2015,
      and Recovery Agreement dated November 23, 201S, each by and among Univenity Health Care
      MSO, Inc., a Florida 001poration (the "Client"), and MSP Recovery, LLC, a Florida limited liability
      company (together, the "Agreements"); irrespective ofwhen the claims were vested in Client, inclusive
      of any and all claim(s), causes of actions, proceeds, products and distributions of any kind, and proceeds
      of proceeds. in respect thereo( whether based in contract, tort, statutory right, and any and all rights
      (including. but not limited to, subrogation) to pursue and/or recover monies that Assignor had, may have
      had, or has asserted against any party pursuant to the Agreement, including claims under consumer
      protection statutes and laws, any and all rights. and claims against primary payers and/or third parties
      that may be liable to Client arising from or relating to the Claims and all information relating thereto.
      The transfer, grant, right, or assignment of any and all of Client's right, title, ownership, interest and
      entitlements in and to the Agreement shall remain the confidential and exclusive property of Assignee or
      its assigns. The intent of the parties is to transfer any and all rights title and interest that MSP Recovery
      LLC obtained as an assignee from the assignor.

              Consideration ~as given between each party in executing these assignment agreements.

              34.     On April 7, 2016, Verimed IPA, LLC entered into an assignment agreement with

     MSP Recovery, LLC, whereby it irrevocably assigned its right to recover conditional payments

     pursuant to state and federal law. The assignment agreement was executed by individuals of

     majority, of sound mind, and with legal authority to bind the respective parties and was entered

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     into under Florida law. Pursuant to the terms of the assignment agreement, the parties agreed to

     maintain the terms of the assignment agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, and any of its successors and assigns, any and all of Client's right, title,
             ownership and interest in and to all Claims existing on the date hereof, whether
             based in contract, tort, statutory right, and any and all rights ( including, but not
             limited to, subrogation) to pursue and/or recover monies for Client that Client had,
             may have had, or has asserted against any party in connection with the Claims and
             all rights and claims against primary payers and/or third parties that may be liable
             to Client arising from or relating to the Claims, including claims under consumer
             protection statutes and laws, and all information relating thereto, all of which shall
             constitute tl)e "Assigned Claims". The transfer, grant, right, or assignment of any
             and alJ of Client's right, title, ownership, interest and entitlements in and to the
             Assigned Claims shall remain the confidential and exclusive property of MSP
             Recovery or its assigns. This assignment is irrevocable and absolute. This
             assignment shall survive the termination or expiration of this Agreement,
             notwithstanding anything herein to the contrary.

             On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

      15-09-108, a designa~ed series of MSP Recovery Claims, Series LLC, whereby it irrevocably

      assigned its right to recover conditional payments pursuant to state and federal law as assigned

      from Verimed IPA, LLC. This second assignment agreement was executed by individuals of

     majority, of sound mind, and with legal authority to bind the respective parties and was entered

      into under Delaware law:




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      KNOW ALL MEN BY TiiESE PRESENTS, that each undersigned Assignor, for and in consi~on of
      the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt of which is hereby
      acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and delivm to Assignee and its .
      successors a~d assigns, any and all of Assignor's right, title, ownership and interest in and to the "Assigned.
      Claims", \'Claims", Assigned Assets" and "Assigned Documents" (and all.proceeds and products thereof)
      assuch   terms are defined in the Recovery Agreement dated April 7, 2016, by and a,qong Verjmed IPA,
      LLC., a Florida limited liability co~any (the "Client"), and MSP Recoveey, LLC, a Florida limi~
      liability company (tbe "~greement"); irrespective of when the claims were vested in Client, inclusive of
      any and all claim(s), cau~ of actions, proceeds, products.and distributions of any kmd, and proceed$ of
      proceeds, in respect thereof, whether based in contract. tort, statutory right, and any and all rights
      (including, but not limited to, subrogation) to pursue and/or recover monies that ~gnor had, may have
      bad, or has asserted against any party pursuant to the Agreement, including claims under COrlSWJle.r
      prot('Ction statutes and laws, any and all rights and claims against primary payers and/or thiid parties that
      may be liable to Client &,rising from or relating to the Cwms and all infonnation relating thereto. The
      transfer, grant, r~ght, or assignment of any and all of Client' s right. title, ownership, intel"C$t' 11nd
      entitlements in and to the Agreement shall remain the confidential and exclusive prop~rty o( Assignee or
      its assigns. The intent of the parties is to transfer any and all ri~ts title and inier~t.1hat M~~ Recovery
      LLC obJained as an assignee from 1he assignor.                                     1 '   ••   _. • !


               Consideration was given between each party in executing these ~signment agreements.

               35.    On December 16, 2014, Interamerican Medical Center Group, LLC (IMC)

      entered into an assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned

      its right to recover conditional payments pursuant to state and federal law, The assignment

      agreement was executed by individuals of majority, of sound mind, and with legal authority to

      bind the respective parties and was entered into under Florida law. Pursuant to the terms of the

      assignment agreement, the parties agreed to maintain the terms of the assignment agreement

      confidential:

               By way of this Agreement, [IMC] appoints, directs, or otherwise, irrevocably
               assigns all of [IMC's] rights as it pertains to the rights pursuant to any plan, State
               or Federal statute(s) whatsoever directly and/or indirectly for any of its members
               and/or plan participants, and/or its rights ....

               On February 20, 2015, MSP Recovery, LLC entered into an assignment agreement with

      MSPA Claims 1, LLC, whereby it irrevocably assigned its right to recover conditional payments

      pursuant to state and federal law as assigned from lnteramerican Medical Center Group, LLC

      (IMC). This second assignment agreement was executed by individuals of majority, of sound


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     mind, and with legal authority to bind the respective parties and was entered into under Florida

     law:

             Assignor hereby irrevocably assigns, transfers, conveys, sets over, and delivers to
             Assignee or_its assigns any and all of Assignor's right, title, ownership and interest
             in and to all rights and entitlements, that Assignor has, may have had, or has
             asserted against third parties from or relating to the Claims.

             Consideration was given between each party in executing these assignment agreements.

     All conditions precedent to the IMC assignment have been satisfied or waived, including any

     requirement for the approval of any assignments, to the extent such approval was required for the

      assignment from MSP Recovery to MSPA, which was merely ministerial in nature. In fact, IMC

      accepted, acknowledged, approved, and consented to any subsequent assignment from MSP

     Recovery to any then-existing or future MSP Company, which includes MSPA.

             36.     On December 3, 2014, MCCI Group Holdings, LLC entered into an assignment

      agreement with MSP Recovery, LLC, whereby it irrevocably assigning its right to recover

      conditional payments pursuant to state and federal law. The ·assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to maintain the terms of the assignment agr~ent confidential:

             As it pertains to these past claims as delineated herein, Client appoints, directs, and,
             otherwise, assigns all of Client's rights as it pertains to the rights pursuant to any
             plan, State or Federal statute(s) whatsoever directly and/or indirectly for any of its
             members and/or plan participants, and/or its rights pursuant to any agreement with
             the understanding that the irrevocable assignment requires that MSP Recovery
             compensate Client as per the terms of this Agreement even if Client cancels the
             Agreement pursuant to the terms herein. It is the intent of the parties that MSP
             Recovery's rights are vested and that there shall exist the right to impose a lien on
             any and all cases identified by MSP Recovery pursuant to this Agreement.

             On February 20, 2015, MSP Recovery, LLC entered into an assignment agreement with

     MSPA Claims 1, LLC, whereby it irrevocably assigned its right to recover conditional payments

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     pursuant to state and federal law as assigned from MCCI Group Holdings, LLC. This second

     assignment agreement was executed by individuals of majority, of sowid mind, and with legal

     authority to bind the respective parties was entered into under Florida law:

     l.        I!Tffoable and Absolnte Alslgnmept or Claims. -AssignQ1' hereby irrovocably assigns
     tran~ers, conveys, sets over, and 4elivC!1 to Assjgnee or its assigns 411y and all of Astignor'~
     right,. title) owp~rship and i~~st _in and to all ri~ and entitlemen:ts, 1h11 A.$$i&DQr bas, may
     hove bad, or has.asserted qainst 1hirdparties ari_sing :from or·relliti~ to the Claims.    -

            Consideration was given between each party in executing these assignment agreements.

            37.     On April 28, 2016, Health First Health Plans, Inc., a Medicare Advantage

     Organization, through its administrator Health First Administrative Plans, Inc., entered into an

     assignment agreement with MSP Recovery, LLC, whereby it irrevocably ~signed its right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

     the parties agreed to maintain the terms of the assignment agreement confidential. The Recovery

     Agreement expressly provides:

            Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
            Recovery, and any of its successors and assigns, any and all of Client's right, title,
            ownership and interest in and to all Claims existing on the date hereof, whether
            based in contract, tort, statutory right, and any and all rights (including, but not
            limited to, subrogation) to pursue and/or recover monies for Client that Client had,
            may have had, or has asserted against any party in connection with the Claims and
            all rights and claims against primary payers and/or third parties that may be liable
            to Client arising from or relating to the Claims, including claims under consumer
            protection statutes and laws, and all information relating thereto, all of which shall
            constitute the "Assigned Claims."

            The transfer, grant, right, or assignment of any and all of Client's right, title,
            ownership, interest, and entitlements in and to the Assigned Claims shall remain
            the confidential and exclusive property of MSP Recovery or its assigns. This
            assignment is irrevocable and absolute.



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            On June 12, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

     16-05-456, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Health First Administrative Plans, Inc. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Delaware law:.

            ...each undersigned Assignor... irrevocably assigns, sells, transfers, conveys, sets
            over and delivers to Assignee and its successors and assigns, any and all of
            Assignor's right, title, ownership and interest in and to the "Assigned Claims,,,
            "Claims", Assigned Assets" and "Assigned Documents" (and all proceeds and
            products thereof) as such terms are defined in the Recovery Agreement ...

            Consideration was given between each party in executing these assignment agreements.

            On June 1, 2018, Health First Administrative Plans, Inc., Health First Health Plans, Inc.,

     and MSP Recovery, LLC entered into an Addendum to the Recovery Agreement and Assignment

     between Health First Administrative Plans, Inc. and MSP Recovery, LLC as well as an Assignment

     dated June 1, 2018 which confirmed that Health First Health Plans, Inc. w,is an assignor and

     intended party to the original agreement.

            38.     On August 17, 2017, Medical Consultants Management, LLC entered into an

     assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the tenns of the assignment agreement,

     the parties agreed to maintain the terms of the assignment agreemen! confidential:

            Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
            Recovery, and any of its successors and assigns, any and all of Client's right, title,
            ownership and interest in and to all Claims existing on the date hereof, whether
            based in contract, tort, statutory right, and any and all rights (including, but not

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              limited to, subrogation) to pursue and/or recover monies for Client that Client had,
              may have bad, or has asserted against any party in connection with the Claims and
              all rights and claims against primary payers and/or third parties that may be liable
              to Client arising from or relating to the Claims, including claims under consumer
              protection statutes and laws, and all information relating thereto, all of which shall
              constitute the "Assigned Claims,,. The transfer, grant, right, or assignment of any
              and all of Client's right, title, ownership, interest and entitlements in and to the
              Assigned Claims shall remain the confidential and exclusive property of MSP
              Recovery or its assigns. This assignment is irrevocable and absolute.

              On September 8, 2017, MSP Recovery, LLC entered into an assignment agreement with

     Series 17-08-647, a designated series of MSP Recovery Claims, Series LLC, whereby it

     irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

     assigned from Medical Consultants Management, LLC. This second assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Delaware law:

      KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and in consideration of
      the~ ofTen J;)ollars ($10.00) md o~cr good and valuable. consicieration, the receipt of which is hereby
      acknowledged, irrevocably assigns, sells, transfe:s, conveys, sets over and delivers to Assignee and its
      successors and assigns, any and all of Assignoi''~right, title, ownership and interest in and to the "Assigned
      Claims", "Claims"., Assigned Assets" and "Assigned Documents" (and aU proceeds and products thereof)
      as such tenns are defined in the.Recovery Agreement dated Augast 17, 2()17, by.an~ among J\,l,dical
      Con~ultants Man~g~ent, LLC, a PJori(la limited liability company (the ''Client"), and MSP
      Recovery; LLC, a Florida limited liability company (~he"Agreement"); irrespective of when the.claims
      were vested in Client, iticlusive of any and aH cl~im(s), causti3 of actions, p~ceeds, products and
      distributions of any kind, and proceeds of proceeds, in respect thereof, whether based in contract, tort,
      statutory right, and ony and all rights (including, but not limited to, subrogation) to pursue and/or recover
      monies that Assignor had, may have bad, or has asserted against any party pursuant to the Agreement,
      including claims under consumer protection statutes and laws, ~y and all rights and claims against
      primary payers and/or third parties that may be liable to Client arising froqi or relating to the Claims and
      all information relating thereto. The transfer, grant, right, or assignment of,any and aJJ of Client's right,
      title, ov.'1lership, inter:est and entitlements in and to the Agreement sha11 remain the confi@Dtial and
      exclusive property of Assignee or its assigns. The intent of the parties is to transfer any and all rights title
      and ~nterest th11t MSP Recovery LLC obtained as an ~signee from ~e assignor-.

              Consideration was given between each party in executing these assignment agreements.

              39.      On December 19, 2017, Primus Health Network, LLC entered into an assignment

     agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

     conditional payments pursuant to state and federal law. The as~ignment agreement was executed

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     by individuals of majority, of sound mind, and with legal authority to bind the re;spective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to maintain the terms of the assignment agreement confidential:

             Client irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, and any of its successors and assigns, any and all of Client's right, title,
             ownership and interest in and to (i) all Claims existing on the date hereof, whether
             based in contract, tort or statutory right, (ii) any and all legal or equitable rights
             (including, but not limited to, subrogation) to pursue and/or recover monies related
             to the Claims that Client had, may have had, or has asserted against any party in
             conne(?tion with the Claims and (iii) all rights and claims, legal or equitable, against
             primary payers, Responsible Parties and/or third parties that may be liable to Client
             arising from or relating to the Claims, including claims under consumer protection
             statutes and laws (all of the items set forth in (i)-(iii), the "Assigned Claims''). The
             assignment of the Assigned Claims provided in this Section 1.1 . is irrevocable and
             absolute. By way of this assignment, Client is not assigning its obligations to
             provide care and treatment to any patient, whether a Medicare beneficiary or not.

             On March 27, 2018, MSP Recovery, LLC entered into an -assignment agreement with

      Series 18-01-811, a designated series of MSP Recovery Claims, · Series LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

      assigned from Primus Health Network, LLC. This second assignment agreement was executed by

      individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Florida law:                                                                    '




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     KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and in considmttion of
     the sum of Ten Dollars ($10.00) and other good and valuable consideration, the receipt ofwhich is hereby
     acknowledged, irrevocably assigns, sells, tr~sfers, conveys, sets over and delivers to Assignee and its
     successors and assigns, any and all ofAssigpor's right, title, ownership and interest in ar)d to the "Assigned
     Claims", "Claims", Assigned Assets,, and "Assigned Docum~nts" (and all proceeds and prod~cts the]'.eof)
     as such terms are defined in the Assienment and Recovery Agreement dated December 1,, 2017, by
     and among Primus HealthNetwork, LLC., a Florida limited liability company, (the "Client"); and MSP
     Recovery, LLC, a F1orida limited liability company (ihe "Agreement"); irrespective ofwhen ~e cl.aims
     were vested in Client, inclusive of any and alf claim(s), causes of actions, proceeds, products and
     distributions of any Jcind, and proceeds of proceeds, in respect thereof, wbether·bASed in contract, tort,
     statutory right, and any and all rights (including, but not limited to, subrogation) to pursue and/or ncover
     monies that Assignor bad, may have had, or bas asserted against any party pursuant to the Agreem~t,
     including chums UQder consumer protection statutes and laws, any and all rights and claims against
     primary payers and/or third parties that may be liable to Client arising from or relating to the Claims and
     alJ information relating thereto. The transfer, grant, right, or assignment of any and all of Client's right,
     title, ownership, interest and entitlements in and to the Agreement shall remain the confidential and
     exclusive property of AssiJ?)ee or its assigns. The intent ofthe parties is to transfer any and all rights title
     and interest tha\ MSP R~yery LLC obtained as an assignee ftom the assignor.

             Consideration was given between each party in executing these assignment agreements.

             40.      On April 30, 2018, Commun~ty Health Providers, Inc. entered into an assignment

      agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

      conditional payments pursuant to state and federal law. The assignment agreement was executed

      by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

      parties agreed to maintain the terms of the assignment agreement confidential:

             Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
             Recovery, and any of its successors and assigns, any and all of Client's right, title,
             ownership and interest in and to all Claims existing on the date hereof, whether
             based in contract, tort, statutory right, and any and all rights (including, but not
             limited to, subrogation) to pursue and/or recover monies for Client that Client had,
             may have had, or has asserted against any party in connection with the Claims and
             all rights and claims against primary payers and/or third parties that may be liable
             to Client arising from or relating to the Claims, including claims under consumer
             protection statutes and laws, and all information relating thereto, all of which shall
             constitute the "Assigned Claims". The transfer, grant, right, or assignment of any
             and all of Client's right, title, ownership, interest and entitlements in and to the
             Assigned Claims shall remain the confidential and exclusive property of MSP
             Recovery or its assigns. This assignment is irrevocable and absolute.



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              On May 30, 2018, MSP Recovery, LLC entered into an assignment agreement with Series

      18-03-848, a designated series of MSP Recovery Claims, Series LLC, whereby it· irrevocably

      assigned its right to recover conditional payments pursuant to state and federal law as assigned

      from Community Health Providers, Inc. This second assignment agreement was executed by

      individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Florida law:

      KNOW ALL MEN BY THESE. PRESEN'J'S, that each undersigned Assignor, for and.in consideration of
      the sum of Ten Dollars {$10.00).and other good and·valuablc consideration, the receipt of which is hereby
      aclcnowledge4, irrevoc~ly as~igns, sell~, transfers, conveys. sets over and delivers to Assignee and its
      successors and assigns, any and all ofAssignor' s ri'ght, title, ownctship and interest in and to the "Assigned
      Claims'\ "Claims", Assigned Assets'' and "Assigned Documents" (and all proceeds and products then:of)
      as such tenns are dcfined·in the Recovery Agr.eement dated April.JO, 2018, by and ~ong Community
      Health Providers, Inc., a Florida COJJ)Oration, and MSP Recovery, LLC., a Florida limited liability
      company (the "Agreement"); irrespective Qf when the claims were vested in Client, inclusive of any and
      all claim(s), causes of actions, proceeds, products and distrib,itions of any kind, and proc;ecds of proceeds,
      in respect thereof, whether based in contract, tort, statutory right, and any and all tjghts {i~cluding, but not
      limited to, subrogation) to.pursue and/or recover monies that Assignor had, may have had, or has asscned
      against any party pursuant to the Agreement, including claims under consumer protection statutes and
      laws, any and.all rights and claims against primary payers and/or third parties that may be Jiable to Client
      arising from or relating to the Claims and all infonnation relating thereto. The transfer, grant, right, or
      assignment of any and all of Client's tight, title, ownership, interest and entitlements in and to the
      Agreement shall remain the confidential and exclusive property of Assignee or its assigns. The ipteut of
      the parties·is to transfer any and all rights title and interest that MSP Recovery LLC obtain~ as an assignee
      from the assignor.

              Consideration was given between each party in executing these assignment agreements.

              41.      On February 19, 2018, Espaillat Vision Network, PLLC entered into an

     assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the terms ofthe assignment agreement,

     the parties agreed to maintain the terms of the assignment agreement confidential:

              Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
              Recovery, and any of its successors and assigns, any and all of Client's right, title,
              ownership and interest in and to all Claims existing on the date hereof, whether

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              based in contract, tort, statutory right, and any and all rights (including, but not
              limited to, subrogation) to pursue and/or recover monies for Client that Client had,
              may have had, or has asserted against any party in connection with the Claims and
              all rights and claims against primary payers and/or third parties that may be liable
              to Client arising from or relating to the Claims, including claims under consumer
              protection statutes and laws, and all information relating thereto~ all of which shall
              constitute the "Assigned Claims't. The transfer, grant, right, or assignment of any
              and all of Client's right, title, ownership, interest and entitlements in and to the
              Assigned Claims shall remain the confidential and exclu,sive property of MSP
              Recovery or its assigns. This assignment is irrevocable and absolute.

              On March 30, 2018, MSP Recovery, LLC entered into an assignment agreement with

      Series 17-03-620, a designated series of MSP Recovery Claims, Series LLC, whereby it

     irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

     assigned from Espaillat Vision Network, PLLC. This second assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law:

       KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor; for and in consideration of
       the sum ofTen Dollars ($10.00) and other good and valuable consideration, the receipt ofwhich is hereby
      11~owledged, irrevocably assigns, sells, transfers, conveys, sets over and delivers to Assignee and its
       successQrs and assigns, any and all of Assi_gnor's right, title, o~ership and interest in and to the "Assigned
       Claims", "Claims", Assigned Assets" and ..Assigned Documents" (and aJJ proceeds and products thereof)
       as such tenns are defined in the Recovery Agreement dated February 19, 2018, by and among EspaiUat
       Vision Networ~ PLLC., a Florida professional limited liability company, and MSP Recovery, LLC., a
       Florida limited liability company (the "Agreement"); irrespective of when the claims were vested in
       Client, inclU$ive of any and all claim(s), causes of actions, pr-0cceds, products and distributions of any
       kind, and proceeds of proceeds, in respect thereof, whether based in contract, tort, statutory right, and ·any
       and all rights (including, but not limited to, subrogation) to pursue and/or recover monies tbat Assignor
       had, may have had, or has asserted against any party pursuant to the Agreement, including claims under
       consumer protection statutes and Jaws, any and all rights and claims against primary payers and/or third
       parties that may be liable to Client arising from or relating to the Claims and all information relating
      ·thereto. The lransfer, grant, right, or assignment ofany and all of Client's right, title, ownership, interest
       and entitlements in and to the Agreement shall remain the confidential ~d exelusive property of Assmnce
       or its assigns. The intent ofthe parties is to transfer any and all rights title and interest ·th.at MSP R,ecovery
       LLC obtained as an assignee from the assignor.

              Consideration was given between each party in executing these assignment agreements.

              42.      On May 3, 2018, Christian Gonzalez M.D., LLC., a Florida limited liability

      company also doing business as Spine and Wellness Centers of America entered into an


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     assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals ofmajority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

     the parties agreed to maintain the tenns of the assignment agreement confidential:

            Client hereby irrevocably assigns, transfers, conveys, sets over.and delivers to MSP
            Recovery, and any of its successors and assigns, any and all of Client's right, title,
            ownership and interest in and to all Claims existing on the date hereof: whether
            based in contract, tort, statutory right, and any and all rights (including, but not
            limited to, subrogation) to pursue and/or recover monies for Client that Client had,
            may have had, or has asserted against any party in connection with the Claims and
            all rights and claims against primary payers and/or third parties that may be liable
            to Client arising from or relating to the Claims, including claims under consumer
            protection statutes and laws, and all information relating thereto, all of which shall
            constitute the "Assigned Claims". The transfer, grant, right, or assignment of any
            and all of Client's right, title, ownership, interest and entitlements in and to the
            Assigned Claims shall remain the confidential and exclusive property of MSP
            Recovery or its assigns. This assignment is irrevocable and absolute.

            On May 30, 2018, MSP Reco~ery, LLC entered into an assignment agreement with Series

      18-04-859, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

     assigned its right to recover conditional payments pursuant to state and federal law as assigned

     from Christian Gonzalez M.D., LLC. This second assignment agreement was executed by

     individuals of majority, of sound mind, and with legal authority to bind the respective parties and

     was entered into under Florida law:




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     KNOW ALL MEN BY THESE PRESENTS, that each wdersigned Assignor; for and ·in consideration of
     the sum of Ten Dollars ($10.00) and other Jood and valuable considention. the receipt of which is hereby
     acknowledged, irrevocably assi~, sells, transfers, conveys, sets over ~d delivers to Assignee and its
     successors and assi81)s, any and aJI ofAssignor's right, title;.ownershij> and interest in·and to the "Assi8Jled
     CJ~". "Claims". Assigned Assets" and "As~igned Pocumepts" (and all pt:oc:eeds and products thereof)
     as such terms are defined in the Recovery ~eement dated May 3, 2018; by and ~ong Christian
     Go~zalez M.D., µ.c., a Florida limited liability C.OQlp.any, doing b~siness as Spine and Wellness Centers
     of America. and MSP Recovery, LLC!, a Florida li~nited liability ~Qlp~ny (the "Agreement")·
     iirespective ofwhen the claims were vested in Client, mclusive.o f any and all claw(s), causes of acti(!D~:
     proceeds, pl'Qducts and distn'butions of any·kind, and proceeds of proceeds, in respect thereof, whether
     based in contract, tort, statutory ri~t, &Dd any and all rights (~lu4fug, but ootlimii~ tQ, subrogation) to
     pursue and/or reo.over monies that Assignor had, may have had, or has asserted against .any party pursuant
     to the Agreement, including clain;ts \U\der consµmer protection statutes and .laws, any and all rights and
     claims agimst pi:unary pay~ and/or third parties that may be liable to Client aris~g from or-relating to
     the Claims and all iµform,ation relating thereto. The transfer, grant, tight, or.assignment of any and ali of
     Client's right, title, ownership, interest and entitlements in and to the Agreement shall remain the
     coDfid~tial and ~xclusive property of Assignee or it11 assigns. The intent of the parties is to transfer any
     ~ all rights title and interest that MSP Recovery ~LC obtained 8$ an assi~ee from the assignor.


             Consideration was given between each party in executing these assignment agreements.

             43.      On December 19, 2017, Accountable Care Options, LLC entered into an

     assignment agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to

     recover conditional payments pursuant to state and federal law. The assignment agreement was

     executed by individuals of majority, of sound mind, and with legal authority to bind the respective

     parties and was entered into under Florida law. Pursuant to the terms of the assignment agreement,

     the parties agreed to maintain the tenns of the assignment agreement confidential:

              Client irrevocably assigns, transfers, conveys, sets over and delivers to MSP
              Recovery, and any of its successors and assigns, any and all of Client's right, title,
              ownership and interest in and to (i) all Claims existing on the date hereof, whether
            · based in contract, tort or statutory right, (ii) any and all legal or equitable rights
              (including, but not limited to, subrogation) to pursue and/or recover monies related
              to the Claims that Client had, may have had, or has asserted against any             party
                                                                                                      in
              connection with the Claims and (iii) all rights and claims, legal or equitable, against
              primary payers, Responsible Parties and/or third parties that may be liable to Client
              arising from or relating to the Claims, including claims under consumer protection
              statutes and laws (all of the items set forth in (i)-(iii), the ''Assigned Clai,ns'9). The
              assignment of the Assigned Claims provided in this Section 1.1. is irrevocable and
              absolute. By way of this assignment, Client is not assigning its obligations to
              provide care and treatment to any patient, whether a Medicare beneficiary or not.·



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             On March 27, 2017, MSP Recovery, LLC entered into an assignment agreement with

     Series 18-01-812, a designated series of MSP Recovery Claims, Series LLC, whereby it

     irrevocably assigned its right to recover conditional payments pursuant to state ~d federal law as

     assigned from Accountable Care Options, LLC. This second assignment agreement was C?(ecuted

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

     and was entered into under Delaware law:

      KNOW ALL MEN BY THES~ PRESENTS, that each undersigned Assignor, for and in consideration of
      the sum ofTen Dollars (S 10.00) and other good and valuable consideration, the receipt of wbi.ch is hereby
      acknowledged, irrevocably assigns, sells, transfers, conveys, sets over and deJivers to Assignee and its
      successors and assigns, any and all of Assignor's right, title, ownership and interest in and to the "Assigned
      Claims", "Claims", Assigned Assets" and "Assigned Documents" (and al.I proceeds and products theteof) .
      as sueh terms are defined~ the Assigmnent and Recovery Agreement dated December 19, 2017, by and
      among Accountable Care Options, LLC., a Florida limited liability company, and MSP Recovery,
      LLC, a Florida limited liability company(the "Agreement"); irrespective ofwhen the claims were vested
      in Client, incJusjve of any and ~J claun(s), causes of actions. proceeds, products and distributions of any
      kind, and proc.eeds of proceeds, in respect thereof, whether based in contract, tort, statutory right, ~~ any
      end all rights (including, but not limited to, subrogation) to pursue and/or recover monies that Assignor
      bad, may have bad, or has asserted against any pany pursuant to the Agreement, including claims under
      consumez protection statutes and laws, any and all rights and claims against primary payers and/or third
      parties that may be liable to Client arising from or relating to the Claims and all infonnation relating
      thereto. The transfer. gr:ant, right, or assignment of any and all of Client's right, 6tle, ownership, i:Jlterest ·
      and entitlements in and to the Agreement shall remain the conjidential and exclusive property ofAssignee
      or its assigns. The intent of the parties is to tramfor any and all rights title and interest that MSP Recovay
      LLC obtained as an assignee from the assignor.

              Consideration was given between each party in executing these assignment agreements.

              44.      On April 16, 2018, ACO Health Partners, LLC entered into an assignment

      agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover ·

      conditional payments pursuant to state and federal law. The assignment agreement was executed

      by individuals of majority, of sound mina, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

      parties agreed to maintain the terms of the assignment agreement confidential:

       1.1.1. Clicnl irrevocably assigns, transfers, conveys, sets over a,\d delivers to MSP
              Reco,~CI)', and any of its ·successors and ·assigns. any and all of G:Jient»s right, litl~.


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              ownership and inrerest in and to (i) all Claims existing on the date hereof. whether
              ~ased i~ contract. t~n. or statutQry rig~t, (ii) any and all legal or equitabl~ rights
              (ancludmg, but not hm1ted to, subrogahon) to pursue and/or recover monies related
              to the Claims that Client bad, m,y have .had, or has assened against any party in
              connection wir.h the Claims and (iii) all rights.and claims, legal or equitable, against
              primary payers, Responsible Panics and/or third panics that may be liable to Client
              arising from or relating to the C'lairris, incJu4ing claims under consumer protection
              statutes·ln~ laws (all of the it~ms set forth in (i)-(iii). the "Aulgn~d Cloims"). The
              assignmer,t of the Assigned Claims provided in this -S'ection J. I is irTCVocable and
              a~so.~ute. By way of this assignment, Client is not assigning its c;,bl~gations to
              pro\'1de care and treatment to any patient, whether a Medicare Benefjciacy or not.

             On April 20, 2018, MSP Recovery, LLC entered into an assignment agreement with Series

      17-12-674, a designated series of MSP Recovery Claims, Series LLC, whereby it irrevocably

      assigned its right to recover conditional payments pursuant to state and federal law as assigned

      from ACO Health Partners, LLC. This second assignment agreement was executed by individuals

      of majority, of sound mind, and with legal authority to bind the respective parties and was entered

      into under Florida law:

      KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and.in consideration of
      the sum ofTen Dollars ($10.00) and other good and valuable consideration, the receipt ofwhich is hereby
      acknowledged, iJTeVocably assigns, sells, transfers, conveys. sets over and delivers to Assignee and its
      successors and assigns, any and an ofAssignor's right. title, ownership and interest in and to the "Assigned
      Claims"t "Claims.., Assigned Assets" and "Assigned Documents" (and aJJ proceeds and products thereof)
      as such terms are defined in the Assignment and Recovery Agreement dated April 16, 2018, by and
      among ACO Health Par1Ders, LLC.• a Delaware limited liability company, and MSP Recovuy, LLC,
      a Florida limited liability company (the "Agreementtt); irrespective of when the claims were vested in
      Client. inclusive of any and all claim(s). causes of actions, proceeds, products and distributions of any
      kind, and proceeds of proceeds, in respect thereof: whether based in contract, tort, statutory right, and any
      and all rights (incJud.ing, but not limited to, subrogation) to pursue and/or ra:over monies that Assipor
      had, may have had, or bas asserted against any pany pursuant to the Agreement. including claims under
      consumer protection statutes and laws. any and all rights and claµns against primary payers and/or third
      parties that may be liable to Oient arising from or relating 10 the Clanm andi all inf01D1ation relating
      thereto . The transfer, grant, right, or assignment of any and all of Client's right, title, ownership. interest
      and entitlements in and to the Agreement ~D remain lhe ooDfidential aud exclusive property ofAssignee
      or jts assigns. The intent of the i,arties is to transfer any and all rights title and interest that MSP Recovery
      LLC obiained as an assignee from th~ assignor.

              Consideration was given between each party in executing these assignment agreements.

              45.     On October 6, 2017, Family Physicians of Winter Park, P.A., a Florida

      professional association, doing business as Family Physicians Group entered into an assignment

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     agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

     conditional payments pursuant to state and federal law. The assignment agreement was executed

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

     and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

     parties agreed to maintain the terms of the assignment agreement confidential:

               Clie'1t. ~CRby assigns; transfers, c;onveY.s. sets over and dc~ivers to MSP Recovery, and any of its
     successors. and assigns, any and all of Client's tight, titJe, ownership and interest in and to those Claims
     transferrccl'io.MSP Recovery for Cl•ims' analysis and recovery pursuit on the date of tra~ferring said claims,
     whether based in ·contract, tort. statutory right, and any and all rights (including, but not limited to, subrogation)
     to pursue and/or ~ver monies for Cli~nt that Client had:, may have had, or h~ asserted against any party.in
     co~nection -with the Claims and all rights and ~laims agai~st pri~&I)' payers and/or third parties that fl'!&)' ~
     liable t0. Cli~t arising frpm or relating to the Claims, includji!g claims under consumer protcie,ion statl.!t~s and
     law~, and all information relating thereto, all of which ~aU ~~~ the "Allicneci c1._,... the transfet,
     giant; right; or.as~igni:nent of ~y ancl aJI of Client's righf, title,.ownership;- intcrcst·ari~.entitlem~ts in.and·to
     the Assi~ed Claims shall remain the confidential and ex~lus!Ve P.1'9P~.rn' ofMSP·Recovery or its assigns. This
     wignmcnt is ~vocable upon mutu~I consent of Client and MSP Recovery as it peftains to any pros~ive
      ~Jaims. The .claims assigned can only be re-a~igned by aireement with bdh parties. .

              On October 10, 2017, MSP Recovery, LLC entered                    into an assignment agreement with

      Series 17-05-634, a designated series of MSP Recovery Claims, Series LLC, whereby it

      irrevocably assigned its right to recover conditional payments pursuant to state and federal law as

      assigned from Family Physicians Group.·This second assignment agreement was executed by

      individuals of majority, of sound mind~ and with legal authority to bind the respective parties and

      was entered into under Delaware law:




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     KNOW ALL MEN BY THESE PRESENTS, that each undersigned Assignor, for and in consideration of
     the sum ofTen Dollars (S 10.00) and other good and valuable consideration, the receipt ofwhich is hereby
     acknowledged, irrevocably as·signs. sells, transfers, conveys, sets over and delivers to Assignee and it~
     successors and ~ssigns, any and all of Assignor's ri$ht, title, ownership and interest in and to the "Assigned
     Claims", ''Claims". Assigned Assets" and "Assigned Documents" (and all proceeds and products thereof)
     as suc}l terms are defined in the Recovery Agreement dated October 6, 1017, by and among Family
     Physicians of Winter Park. P.A., a Florida professional association doing.business a Farqlly Physicians
     Group, and MSP Recovery, LLC, a Florida limited liability company (the "Agreement"); i1Tespective
     of when the cla~ were -vested in Client, inclusive of any and all claim(s), causes of actions, proceeds,
     products and distributions of any kind, and proceeds of proceeds, in respect thereo( whether based in
     contract, tort, statutory right, arid any and all.ri~ts (including, but not limited to, subrogation) to pursue
     and/or recover monies thaf Assignor had, may have bad, or bas asserted against any party pursuant to the
     Agreement, including claims under co~surner protection statutes and laws, any and all rights and claims
     against primary payers and/or third parties that may be liable to Client arising from or relating to the
     Claiufs and an information relating thereto. The transfer, grant, right, or assignment of any ,and all of
     Client' s right, title, ownership, interest and entitlements in and to the Agreement shall remain the.
     confidential and exclusive property of Assignee or its assigns. The intent of the parties is to transfer any
     and all rights title and interest that MSP Recovery LLC obtained as an assignee from the assignor.

              Consideration was given between each party in executing these assignment agreements.

              46.     On July 19, 2017, Premier Care Partners, LLC. entered into an assignment

     agreement with MSP Recovery, LLC, whereby it irrevocably assigned its right to recover

     conditional payments pursuant to state and federal law. The assignment agreement was e~ecuted

     by individuals of majority, of sound mind, and with legal authority to bind the respective parties

      and was entered into under Florida law. Pursuant to the terms of the assignment agreement, the

      parties agreed to maintain the terms of the assignment agreement confidential:

                Client hereby irrevocably assigns, tr&J1sfers, conveys, sets over and delivers to MSP Recovery, and
       any ofits successors and assigns, any and all ofClient's right, title~ ownership and interest in ~d to all Claims
       existing on the date hereof, whether based in contract, tort, statutory right, and any and all rights (including.
       but not limited to, subrogation) to pursue and/or recover monies for Client that Client had, may have had, or
       has asserted against any party in conneetiori with the Claims and all rights and claims against primary (>.ayers
       and/or third parties that may be liable to Clieni arising from or relating to the Claims, including claims under
       consumer protection statutes and laws, and all information relating theret9, all of wh,ch shall constitute the
       "Assigned Claims". The transfer, grant, right, or assignment of any and all of Client's right, title, ownership,
       interest and entitlements in and to the Assigned Claims shall remain the confidential and exclusive property of
       MSP Recovery or its assigns. This assignment is irrevocable and absolute.

              On July 20, 2017, MSP Recovery, LLC entered into an assignment agreement with Series

      17-07-642, a designated series of MSP Recovery Claims~ Series LLC, irrevocably assigned its

      right to recover conditional payments pursuant to state and federal law as assigned from Premier

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     Care Partners, LLC, Inc. This second assignment agreement was executed by individuals of

     majority, of sound min~ and with legal authority to bind the respective parties and was entered

     into under Delaware law:

     KNOW ALL.MEN BY TIIESE PRESENTS, 1hat each undersigned Assignor. for and in consideration of
     the sum ofTen Dollars ($10.00) and other good and valuab)e·consideration, the receipt of whicli ·is hereby
     acknowledged. irrevocably assigns, sells, transfers. conveys. sets over and delivers to Assignee ~d its
     sucx:cs~rs ~d ~igns, ~Y and aJI ofAssignor's right, title, ownership.and interest in and to the "Assigned
     Claims'\ "Claims", Assigned Assets" and "Assigned Documents"(~ ~l p ~ and products thereof)
     as such tenns are defined in the Recovery Agreement dated July 19, 2017, by-and among Premier Care
     Parm.en, L~ a Florida l~mitcd liability CQmpany (the ''Client"}, and MSP Recovery, LLC, a Florida
     limited liability comeany (1he ''A~entj; irrespective of when the claims were vested in Client.
     mclusive ofany .and all claim(s}, causes of actions; procc:eds,,products and distributions of any kind, and
     proceeds of proceeds, in ff!Specl thert9f, whether based "in contra~ tort. statutory rigbt, .and any.~d all
     rights (inclu!iing, but not limited to, subrogation) to pursu~ and/or recover monies that Assignor had, may
     have had, or bas asserted against any party pursuant to the A~cnt, including claims uncle, consumer
     protection statutes and laws, any and all rights and claims ·a g~st pri~ pay~.~d/or third.parties that
     may ·f?e liable to Client arisµig from or relating to tb_e Claims and all information relating thm:to. The
     transfer, grant, right, or assignment of any and aJI of _Client's right, title, ownership, interest and
     entidements in and to the Agreement sha11 remain the ~nfidcntial and exclusiye property of Assignee or
     its assigns. The intent of the parties is to transfer any and all rights title and interest that MSP Recovery
     I.LC obtained as an assignee tom the assignor.                      ·

             O.,nsideration was given between each party in executing these assignment agreements.

             47.     Defendant Alere, Inc. is a corporation with a principal place of business in

     Waltham, Massachusetts. Defendant Alere, Inc. is headquartered in Waltham, Massachusetts, and

      is the parent corporation of Defendants Alere San Diego, Inc., and Alere Home Monitoring, Inc.

             48.     Defendant Alere San Diego, Inc. is a foreign corporation with a principal place of

      business in San Diego, California.

             49.      Defendant Alere Home Monitoring, Inc. is a foreign corporation with a principal

      place of business in San Diego, California.

             50.      Venue is proper because Defendants have an agent or other representative in

      Miami-Dade County, Florida, and the cause of action accrued in Miami-Dade County, Florida.




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                                            GENERAL ALLEGATIONS

              51.     Alere manufactures and sold a home testing system used to test bow·quickly blood

      clots in patients taking W arfarin.

              52.     Warfarin is   an anticoagulant prescribed to prevent blood clots from forming or
      growing larger. Blood clots can cause a heart attack, stroke, deep vein thrombosis, pulmonary

      embolism, or other life-threatening medical conditions by preventing blood flow to bodily organs.

              53.     Warfarin decreases the bodfs ability to fonn blood clots, so it stops harmful clots

      from forming and prevents clots from getting larger. But Warfarin's dosage must be carefully

      monitored and precisely calibrated on a regular basis. A balance must constantly be maintained -

      if the dosage is too low, blood clots will not be prevented, but if it is too high, there is an increased

      risk of bleeding.

              54.     Doctors regulate Warfarin dosage by keeping it within a therapeutic target range.

      That range is detennined using the international nonnalized ratio ("INR"}, a measure of bow much

      time it takes a ·patient's blood to clot.

              55.     Unlike most medications that are administered as a     nxed dose, Warfarin dosing is
      adjusted according to the patient's INR blood test results; therefore, the dose often changes over

      time. 1bis is why those who take Warfarin must have their blood tested so frequently. And it is

      why doctors so carefully monitor the dosage with regular blood testing, and adjust it to remain

      within the therapeutic target range.

              56.     Alere manufactures and sold the INRatio® Monitors, the INRatio®2 Monitors, and

     the INRatio® Test Strips (collectively the "INRatio System"), which purports to measure a

     patient's JNR. Doctors use the INR results the INRatio System produces to adjust the Warfarin

      dosage to achieve maximum therapeutic efficiency and to prevent both spontaneous bleeding (too



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     high a dosage), and dangerous clot fonnation (too low a dosage) among other dangerous and

     potentially lethal side effects. Patients use the system to report their INR to their doctors.

             57.     Alere sold the INRatio System directly to consumers, for use as a self- administered

      INR testing device prescribed by their doctor, and to medical professionals for in-office use.

             58.     The INRatio System often provided significantly inaccurate results, exposing its

     users to the risks caused by inaccurate warfarin dosing.

             59.     Ultimately, the FDA intervened, and in December 2014 Alere issued a ''voluntary"

      Class 1 Recall of the INRatio® Monitors, the INRatio®2 Monitors, and the INRatio® Test Strips.

      Class 1 Recalls are rare events, issued only where there is a significant and immediate danger of

      death or other serious injury from using the product being recalled.

             60.     Despite the stakes involved, Alere failed to take necessary or reasonable measures

      to reach all the patients relying on the inaccurate INRatio System for critical test results. Neither

      Plaintiffs' Assignors' Enrollees received any recall notices or alerts directly from Alere. They only

      learned of the danger of using the INRatio Systems from the internet.

             61.     In July 2016, Alere announced a withdrawal from the market of the InRatio® and

     InRatio®2 PT/INR monitoring systems. In announcing its market withdrawal, Alere stated that

     the software changes it developed to address the issue of inaccurate results, were found by the

     Food and Drug Administration (FDA) to be ineffective, based on Alere' s own studies.

             62.     Alere has refused to refund the cost of its INRatio System to Plaintiffs' Assignors'

     Enrollees, or to any purchaser.

                              ALERE'S MISCONDUCT IN MARKETING ITS
                             INHERENTLY DANGEROUS INRATIO SYSTEM

             63.    ·Anticoagulants like Warfarin ar~ typically prescribed to patients who have

     undergonereplac~rnentorrnechanicalheartvalvesurgery;haveirregular.heartbeats such as atrial

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     fibrillation (arrhythmia of the heart); have had heart attacks; are trying to prevent deep vein

     thrombosis (blood clots deep within the body) and pulmonary embolisms (blood clots in the

     lungs); or are suffering from other conditions that predispose them to, bloodclots.

            64.     Prescribing Warfarin requires that the doctor constantly measure and

     correspondingly adjust the patient, s dosage to achieve a therapeutic effect- staying below the

     dangerous dose that could lead to uncontrolled bleeding while providing enough of the drug

     to prevent equally dangerous clots.

            65.     In the last decade, home testing devices that accurately measure the INR have

     reduced the cost of and logistical difficulties with testing for the ratio, and increased the well-

     being of patients using Warfarin.

            66.     Alere,s INRatio® Monitors and INRatio®2 Monitors are one form ofsuch home

     testing devices.

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             67.      But in practice the INRatio System did not perform as promised.

             68.      In 2005, the FDA conducted an inspection of the Defendants' manufacturing plant.

     Based on its inspection, the FDA issued a warning letter citing Defendants, then operating under

     the name Hemosense Corporation, for failing to report known instances in which its device

     produced clinically significant inaccurate results, some of which may have caused or contributed

     to death or serious injury, or could do so in the future.

             69.      In its warning letter, the FDA stressed the importance of accurate results, noting:

     "If the INR is too low, a patient wil1 be prone to fonn blood clots or strokes. If the INR is too high,

      a patient will be prone to excessive bleeding. Therefore, both high and low test results have the

     potential to cause or contribute to a death or serious injury, because they may result in erroneous

      dosing and thus improp~r control of coagulation/'

                           ALERE'S MISCONDUCT REGARDING RECALLS

                   a. Recall of Test Strips

             70.      Yet, even after the FDA warning, Alere continued to receive complaints from

     patients of significantly inaccurate test results. As a result, on April 16, 2014, Alere, Inc.

      voluntarily recalled certain INRatio® Test Strips. See FDA.gov, Medical Device Recalls,

      www.fda.gov/MedicalDevices/Safety/ListotR.ecalls/ucm397509.htm (last visited May 30, 2016).

             71.      Alere represented that, on April 17, 2014, it sent an urgent medical device recall

     letter to certain users of INRatio® Test Strips by fax, email or direct mail.

             72.      However, this limited recall did not remedy the serious and continuing problems of

     inaccurate INR results.




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     b. Recall ofthe Entire INRatio System

            · 73.    According to the FDA, between 2013 and 2014 Alere received over 18,000 ·

      complaints about the INRatio System, including reports of serious injuries and deaths caused by

     bleeding.

             74.     Ultimately, the FDA effectively forced Alere's hand, and on December 5, 2014

      Alere initiated a "voluntary' Class 1 Recall of all INRatio® Monitors, the INI.latio®2 Monitors,

      and the INRatio® Test Strips. The FDA recall notice itself was both damning and frightening,

      stating that the recall was necessary because "use of the affected devices may delay treatment and

      cause severe or life-threatening injuries, including death."

             75.     In connection with the recall, on December 5, 2014, Alere represented that it issued

      an urgent medical device "correction" letter to INRatio® Monitor, INRatio®2 Monitor, and

      INRatio® Test Strips customers.

             76.     On December 8, 2014, Alere also issued a press release from its Waltham

      Massachusetts headquarters. "Alere Inc. (NYSE: ALR) has initiated a voluntary correction to

      inform U.S. users of the [INRatio Systems] ... that a significant discrepancy in INR results may

      lead to a delay in an urgent medical decision to reverse a supratherapeutic INR level ...."

             77.     This recall involved Alere's INRatio® Monitor, INRatio®2 Monitor, and

      INRatio® Test Strips manufactured and distributed between April 1, 2008 and December 4, 2014.

             78.     nie December 2014 recall notice informed customers that they should not use the

      INRatio System if they bad a wide range of certain common conditions among this patient

     population, including:

                      a.      anemia.(low hemoglobin or low red blood cell count);

                      b.      any conditions associated with elevated fibrinogen levels;



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                     c.    acute inflammatory conditions (for example viral or bacterial infections

                    such as pneumonia or flu);

                     d.    chronic inflammatory conditions (for example rheumatoid arthritis, Crohn,s

                    disease, ulcerative colitis, infectious liver diseases such as hepatitis, or

                    inflammatory     kidney      diseases   such     as   diabetic   .nephropathy    and

                    glomerulonephritis);

                     e.     severe infection (for example sepsis);

                     f.     advanced stage cancer or end stage renal disease requiring hemodialysis; or


                     g.     any bleeding or unusual bruising.

            79.     Both recalls of the Alere INRatio System and Test Strips are designated as "Class

     1,, recalls, defined by the FDA as "a situation in which there is a reasonable probability that the

     use of or exposure to a violative product will cause serious adverse health consequences or death.,,

            80.     Both recall notices adyised INRatio System customers of the device,s propensity

     to provide an inaccurate INR result.

            81.     Neither recall notice informed System users that, as the FDA expressly warned on

     its website: "Use of the affected devices may delay treatment and cause severe or life-threatening

     injuries, including death.,, (emphasis added). The press release issued from corporate headquarters

     also omitted any mention of these extreme dangers.

            82.     Alere attempted unsuccessfully to correct the inaccuracy issue through changes to

     the system software at the end of 2015. However, the FDA notified Alere that it concluded that

     Alere,s studies did not adequately demonstrate that the software modification was effective. And

     so the FDA instructed Alere to voluntarily remove the device from the market.




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             83.     Alere has refused to issue refunds of the cost of the INRatio System to those who

     purchased them. including Plaintiffs' Assignors and continues to do so.

                                           CAUSE OF ACTION

             84.     A pure bill of discovery requires the following:

                     a.     The matters concerning which the discovery asked for is sought;

                     b.     The interests of the several parties in the subject of the inquiry;

                     c.     The complainant's right to have the relief prayed;

                     d.     The complainant's title and interest, and what the relationship of same is to
                            the discovery claimed; and

                     e.     Discovery so attempted is material to litigation brought on the common law
                            side of the court so as to entitle the complainant to a disclosure of what is
                            necessary to maintain its own claim in that litigation. See Publix
                            Supermarkets, Inc. v. Frazier, 696 So. 2d 1369, 1371 (Fla. 4th DCA 1997):

             85.     A pure bill of discovery is available as an aid in bringing or defending an action

      about to be commenced regardless if the party "would be entitled to the information .. . through

      routine discovery," as this "does not automatically preclude relief by way of ... [a] true bill of

     discovery."Lewis v. Weaver, 969 So. 2d 586, 587 (Fla. 4th DCA 2007) ("a true bill o(discovery .

      . . allow[s] the injured party to ascertain whether a lawsuit may properly be asserted and under

     what theory or theories[;] [however] [t]here must of course be some basis for targeting a particular

     defendant." .

          . 86.      Plaintiffs seek to obtain information from Defendants regarding any and all

     registered users of the Defendants' Home Testing System including but not limited to, the

     following information for each Home Testing System recipient: : (1) Full Name; (2) Social

     Security Number ("SSN''), Health Insurance Claim Number ("HICN"), or Medicare Beneficiary

     Identifier("MBI"); (3) Date of Birth; and (4) Address.



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            87.     Plaintiffs seek a pure bill of discovery to confirm the identity of the proper

     defendant and the appropriate legal theory of relief.

            88.     Plaintiffs lack an adequate legal remedy and thus, a pure bill of discovery is the

     appropriate remedy.

            WHEREFORE, Plaintiffs respectfully request that:

            1.      Defendants be directed by this Court to produce to Plaintiffs any information
                    including, but not limited to, the following for each Home Testing System recipient:
                    (1) Full Name; (2) SSN, HICN, or MBI; (3) Date of Birth; and (4) Address.

            2.      Defendants be~ the costs for the filing of this action; and

            3.      Any such further relief as this Honorable Court may deem.just and proper.

     DATED: September 10, 2018.

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